189 Commerce Court 203-272-8220 of 800-873-0242
ay HAI G rou p PO Box 189 fax 203-271-2265

Cheshire, CT 06470-0189 www. hausingcenter.com

I hereby certify that the attached policies are true and exact copies of the policies
HEICP-205802-163575-2016 & HEICL-205802-163574-2016 as they appear on
the records of Housing Enterprise Insurance Company, Inc.

By: Rocco Palmieri
Title: Commercial Lines Rater
Company: Housing Enterprise Insurance Company, Inc.

One South Place LP

On this day of May 31, 2017,

Swears and deposes that I am employed and works in Cheshire:

Connecticut as a Commercial Lines Rater for Housing Enterprise Insurance
Company Inc. That I prepared the attached true and exact copy of a contract issued
by said company and that I authorized by said company to so.

Ce of Connecticut

County of New Haven ss. Cheshire
On this 31% day of May 2017 before me, Rolanda Rrydhe undersigned

office, personally appeared QoSece mo; known to me (or satisfactorily
proven) to be the person(s) whose name(s) Roaco e, | mwesubscribed to the within

instrument and acknowledged that rlands Cai.executed the same for the
purposes therein contained.

In witness whereof I hereunto set my hand.

signature of Notary Public

Date Commission Expires: 2] Al [ber3 {

5

Printed Name of Notary

EXHIBIT

Case 3:17-cv-00241-JRG-HBG Document1-2 Filed 06/O@j17 Page 1of97
PagelD #: 14

Change Endorsement

Policy Change No. 20-Cancl-01-2016-13

Named Insured: One South Place LP

Policy Number: HEICP-205802-163575-2016
Policy Effective Date: 09/20/2016 - 09/20/2017
Issue Date: 05/19/2017

Effective From: 09/30/2016 at the time of day the policy becomes effective.

The Insurance is Amended as follows:

In consideration of a return premium of $-18,679, this policy is “—wL ;01 AM on September 30,
2016.

NAME AND ADDRESS OF AGENT OR BROKER: C) COUNTERSIGNED BY:
Housing Insurance Services, Inc. >
ing Pau. Maxell
189 Commerce Court +
Cheshire, CT 06410- Authorized Representative

Date: 05/19/2017

HACP 07 09 06 PHA ID: 205802

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PagelD #: 15

+. HAI G rou p 189 Commerce Court 203-272-8220 or 800-873-0242

y PO Box 189 fax 203-271-2265
Cheshire, CT 06410-0189 www.housingcenter.com

May 19, 2017
Mr. Michael Kane
Agent
One South Place LP
Wells Fargo Insurance Services of USA, Inc.
10 S. Wacker, 17th Floor
Chicago, IL 60606-

Dear Mr, Kane,

Enclosed please find Endorsement #20-Ca we Sy amending the policy as described.

\f you have any questions or @ » me at (800) 873-0242 extension 436.

Sincerely,

Laura Masella
Underwriter

Enclosures

HAI Greup® |189 Corimerce Court, Cheshire, C7 06410 | HAI Group is 2 registered trademark for a family of car panies which
includns Housing Authority Risk Retention Grotp, Ine; Housing Authority Property Insurance, A Mutual Cam pany; Jousing
Ente’prise listrance Company, Irc,; and Housing Insurance Services, Inc. (OBA Housing Insurance Agency Services in NY anc fl).

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189 Commerce Court
PO Box 189
Cheshire, CT 06410-0189
800-873-0242

HAI Group® | 189 Commerce Court, Cheshire, CT 06410 | HAI Group is a registered trademark for a family of companies which includes
Housing Authority Risk Retention Group, Inc.; Housing Authority Property Insurance, A Mutual Company; Housing Enterprise insurance
Company, inc.; Housing Insurance Services, Inc. (DBA Housing Insurance Agency Services in NY and Ml); Housing Specialty Insurance.

Company, Inc.

HAJA 1004 01 14

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PagelD #: 17

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COMMERCIAL OUTPUT PROGRAM “y HAI Group
DECLARATIONS
‘Issue Date: Sep 26, 2016 Policy Number: HEICP-205802-163575-2016

COMPANY: AGENT or BROKER:

Housing Enterprise Insurance Company, Inc. Housing Insurance Services, Inc.

189 Commerce Court, Cheshire, Connecticut 06410-0189 189 Commerce Court, Cheshire, Connecticut 06410-0189

NAMED INSURED: One South Place LP

MAILING ADDRESS: 221 Young High Pike

Knoxville ™ 37920-7920
POLICY PERIOD: FROM 09/20/2016 TO 09/20/2017 12:01 A.M. Standard Time

at Your Mailing Address

IN RETURN FOR YOUR PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE
AGREE TO PROVIDE THE COMMERCIAL OUTPUT PROGRAM INSURANCE AS DESCRIBED IN THIS POLICY.

BUSINESS DESCRIPTION: Habitational

FORMS APPLICABLE TO ALL COVERAGES: See Attached Schedule of Forms

PREMIUM:
Commercial Property $19,197

Annual Premium $19,197

a3 25

Certified True Cor y is
Housing Enterpri se Ins
Company, Inc. :#3#
Underwriter: 47 a
Manager: LOG

33

rance

This company has caused this policy to be signed by its authorized representati 3h

LO
Authorized Signature: Date:
fee, 1. Lae
i ox 09/26/2016 (Ue

HACP 2001 09 15 Copyright HAI Group 2016. Page 1 of 3

Case 3:17-cv-00241-JRG-HBG Document1-2 Filed 06/06/17 Page5of97
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Form Number

HAJA 1004 01 14
HACP 2001 09 15
HACP 1052 04 15
HACP 1051 04 15
HACP 2003 01 08
CL 0100 03 99
CL 0700 10 06
CO 1220 10 07
CL 0610 01 15
CO 1000 10 02
CO 1227 05 02
CO 1293 11 03
CO 1080 11 03
HACP 2006 09 13
CO 1232 04 02
CO 1072 04 02
CO 1001 04 02
CO 1281 04 02
HACP 2045 09 13
HACP 2044 11 13
CO 1221 04 02
HACP 2050 09 14
CO 1005 04.02
CL 0118 01 01
HACP 2023 11 10

HACP 2001 09 15

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Form Title

Policy Jacket

Commercial Output Program Declaration
Location Schedule

Schedule of Coverages

Premium Breakdown Schedule

Common Policy Conditions

Virus or Bacteria Exclusion

Windstorm or Hail Deductible

Certified Act of Terrorism Exclusion

Commercial Output Program - Property Coverage Part
Scheduled Locations Endorsement

Limited Fungus and Related Perils Coverage
Limited Fungus and Related Perils - Blanket Limit
Housing Plus

Loss Payable Options

Loss Payable Schedule

Commercial Output Program - Income Coverage Part
Waiting Period - Income Coverage

Flood Endorsement

Flood Definition

Earthquake Endorsement

Earthquake Endorsement

Spoilage Coverage Part - Blanket Coverage
Amendatory Endorsement - Tennessee

Mortgagee Schedule

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Case 3:17-cv-00241-JRG-HBG Documenti-2 Filed 06/06/17

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POLICYHOLDER NOTICES

** PLEASE READ THE ENCLOSED IMPORTANT NOTICES ***
HAPN 0012 01 15 Notice to Policyholders - Terrorism Insurance Excluded
HAPN 4030 12 14 . Important Notice to Policyholders Producers Compensation Disclosure
HACP 2001 09 15 Copyright HAI Group 2015 Page 3 of 3

Case 3:17-cv-00241-JRG-HBG Document1-2 Filed 06/06/17 Page 7 of 97
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HACP 1052 04 15 Certified Co
PY 4 HAI Group

Insured Name: One South Place LP
Policy Number: HEICP-205802-163575-2016
Endorsement Effective Date: 09/20/2016

LOCATION SCHEDULE

With respect to each covered location, the sum of the Business Personal Property limits for each building at such
covered location applies on a blanket basis on any one such building.

Coverage provided by the Commercial Output Program applies only to "covered locations" described below, Refer to the
Schedule of Coverages endorsement for applicable "limits" for types of covered property, coverage extensions and
supplemental coverages. ,

Earthquake coverage applies at "covered locations” shown with an "X."

Covered Locati as
Vv ocations 29 < 9 Pp eS m
°3 x 3 ga co
Ba] § 5 | 8 - |g8 | 2
Name of Property ae 3 S 5 a S38 2
AMP Number and HUD Number | — & s 3 g az | &
— a =
One South Place B $2,031,785 RC N/A 2% xX
1311 Bertie Rand St ,
Knoxville, TN 37920
BPP $15,000 RC N/A 2% x
IN $149,760 100% 2%
One South Place B $2,031,785 RC N/A 2% x
1311 Bertie Rand St
Knoxville, TN 37920
BPP $0 RC N/A 2%
IN $149,760 100% 2%

ACV=Actual Cash Value; B=Building; BPP=Business Personal Property; E=Wind Exclusion;
FRC=Functional Replacement Cost; IN=Earnings, Rents and Extra Expense; RC=Replacement Cost;

S=Named Storm Exclusion; T=Theft; WD=Water Damage;’X'%=Wind Deductible (percent); $'X’"=Wind
Deductible (dollar); ACV-R = Actual Cash Valuation -Roofs; CD-R = Cosmetic Damage -Roofs"

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Covered Locations as
29 < g m as fy
35 > 5 x ao 5
ga} § 5 | & - |gs | 2
Name of Property 38 3. a . oa 2
AMP Number and HUD Number s s 3 S 3 = x
. _ o wv =
One South Place B $2,031,785 RC N/A 2% X
1311 Bertie Rand St
Knoxville, TN 37920
BPP $0 RC N/A 2%

IN $149,760 100% 2%

ACV=Actual Cash Value; B=Building; BPP=Business Personal Property; E=Wind Exclusion;
’ FRC=Functional Replacement Cost; IN=Earnings, Rents and Extra Expense; RC=Replacement Cost;

S=Named Storm Exclusion; T=Theft; WD=Water Damage;'X'%=Wind Deductible (percent); $'X'=Wind
Deductible (dollar); ACV-R = Actual Cash Valuation -Roofs; CD-R = Cosmetic Damage -Roofs"

HACP 1052 04 15 Copyright HAI Group 2014 Page 2 of 2

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PagelD #: 22

HACP 1051 04 15 Certified Copy j.
</ HAI Group
Insured Name: One South Place LP
Policy Number: HEICP-205802-163575-2016
Endorsement Effective Date: 09/20/2016
SCHEDULE OF COVERAGES
COMMERCIAL OUTPUT POLICY ©
Catastrophe Limit - Unless otherwise specified, the most "we" pay for any combination | Limit
iof or total of losses arising under one or more coverages in any one occurrence is: __NotApplicable
Windstorm or Hail Catastrophe Limit - The most “we" pay for Joss arising from any one Not Purchased
occurrence of Windstorm or Hail is:
PROPERTY COVERAGE PART
Property Covered: ES Limit
Buildings at Scheduled Locations = ~ Refer to Location
Schedule
Business Personal Property at Scheduled Locations a Refer to Location
Schedule
Newly Built or Acquired Buildings (120 days) $2,000,000.
Business Personal Property (BPP) - Acquired Locations (120 days) ists $250,000.
Locations "You" Elect Not To Describe : $100,000.
Coverage Extensions: ~ Limit
: Debris Removal, Additional Expense $250,000.
Emergency Removal (365 days) _ Included in Covered
Property “limits”
Emergency Removal Expense ' $5,000.
Fraud and Deceit _ $5,000.
Off Premises Utility Service Interruption we ~~ $50,000.
[Overhead Transmission Lines Excluded]
HACP 1051 04 15 Copyright HAI Group 2015 Page 1 of 9

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PagelD #: 23

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Supplemental Coverages: Limit
Brands or Labels Expense ~ $50,000.
| :
"Expediting Expenses ~ $60,000.
Fire Department Service Charges oe ° $25,000.
inventory and Appraisal Expense $50,000.
Ordinance or Law (Undamaged Parts of Buildings) - Included in
Building "limits"
|
Ordinance or Law (Increased Cost to Repair/Cost to Demolish and Clear Site) $250,000.
!
~~ ~Bersonal Effects - - $25,000.
Pollutant Cleanup and Removal ° $50,000.
Recharge of Fire Extinguishing Equipment $50,000,
Sewer Backup and Water Below the Surface $25,000,
Trees, Shrubs, and Plants $60,000.
Underground Pipes, Pilings, Bridges, Roadways $250,000.
Supplemental Marine Coverages: - : Limit
Accounts Receivable | $100,000.

Electrical or Magnetic Disturbance of Computers

Included in Business

Personal Property "limits"

Power Supply Disturbance of Computers

Included in Business

Personal Property “limits”

Virus and Hacking Coverage:

Limit any one occurrence $25,000.

Limit any 12 month period a $50,000:

Fine Arts ; $100,000:
HACP 1051 04 15 Copyright HAI Group 2015 Page 2 of 9

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Off Premises Computers $25,000.
|
Property On Exhibition OO ~ | ~ $50,000.
Property In Transit ” $50,000:
Sales Representative Samples $50,000.
!
| Software Storage $50,000.
|
Valuable Papers ~ ° $100,000.
|
Additional Property Subject to Limitations: ~ °
Stamps, Tickets, Letters of Credit $5,000.
Deductible “Amount
Policy Deductible: a a $10,000.
This deductible applies to all. covered perils and all
"covered locations", except as otherwise specified in the policy.
Mobile Equipment Deductible:
‘if a value is provided for Mobile Equipment Deductible, this deductible applies to
claims arising from covered perils and all “mobile equipment". If no value is pro-
vided, the Policy Deductible applies to all covered perils and all "mobile equipment." |
Computers Deductible:
If a value is provided for Computers Deductible, this deductible applies to
claims arising from covered perils and all "computers". If no value is pro-
vided, the Policy Deductible applies to all covered perils and all "computers."
Automatic Increase :
Annual Percentage Not Purchased
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INCOME COVERAGE PART

income Coverage - At "Covered Locations” : Limit
Earnings, “Rents”, or Extra Expense at Scheduled Locations ~ | Refer to Location Schedule.
~ Newly Built or Acquired Locations (120 days) ~ — woh $250,000.
Waiting Period - 72 hours
Coverage Extensions | ~ Limit
~~ interruption By Civil Authority (30 days) — '_ Included in Earnings and
Extra Expense "limits"
Period of Loss Extension (90 days) Included in Earnings "limits"
|
‘Supplemental Coverages Limit
|
Computer Virus and Hacking
Limit any one occurrence: $25,000.
Limit any 12 month period: $75,000.
Waiting Period - 12 hours :
Dependent Locations $100,000.
Off Premises Utility Service Interruption .
Limit $50,000.
Waiting Period - 12 hours
Overhead Transmission Lines Excluded _ .
Contract Penalty
Limit any one occurrence $25,000.
Limit any 12 month period _ _ $100,000:
Pollutants Cleanup and Removal $25,000.
Property In Transit, On Exhibition, or Custody of Sales Representatives $10,000.
-HACP 1051 04 15 Copyright HAI Group 2015 Page 4 of 9

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EARTHQUAKE COVERAGE
Blanket Earthquake Coverage Limit
Earthquake coverage applies at “covered locations" shown for Earthquake
Coverage in the Location Schedule.
"Occurrence Limit" $70,000.
“Aggregate Limit" $70,000,
“Catastrophe Limit" $70,000.
Earthquake Deductible Deductible Amount
| Any one occurrence. | $10,000.
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FLOOD COVERAGE
Blanket Flood Coverage Limit
Excluded Locations:
Flood coverage applies at “covered locations,” except for any location wholly or
partially located in a Special Flood Hazard Area as defined by FEMA on the date of the
direct physical loss or damage.
Excess of Any Insurance Policy
This coverage is excess of any other insurance policy.
This coverage will not pay for that part of any deductible in any other insurance policy,
“Occurrence Limit" $70,000:
“Aggregate Limit" $70,000.
"Catastrophe Limit" $70,000,;
Flood Deductible Deductible Amount
Any one occurrence. _. $10,000.
Page 6 of 9

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EQUIPMENT BREAKDOWN COVERAGE PART

Equipment Breakdown Coverage Limit
Property Damage and Income Coverages for "One Accident" Not Covered
Coverage Extensions Limit
Expediting Expenses Not Covered
Pollutants Not Covered
Ordinance or Law (Undamaged Parts of Buildings) Included in Building “limits'
under the Property Coverage
Part
Ordinance or Law (Increased Cost to Repair / Cost to Demolish and Clear Site) Not Covered
Off Premises Utility Service Interruption Not Covered
Equipment Breakdown Deductible Deductible Amount
Property Damage and Income Coverages Combined Not Covered

HACP 1051 04 15 Copyright HAI Group 2015 Page 7 of 9

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SPOILAGE COVERAGE PART

Blanket Spoilage Coverage
Spoilage Limits Limit
Location Limit - The most "we" pay for loss at any one "covered location" is: $25,000.
Catastrophe Limit - The most "we" pay in any one occurence is: $25,000.
Spoilage Deductible $1,000.
Page 8 of 9

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CRIME COVERAGE PART

Crime Coverage

Limit

Employee Fraud and Dishonesty Coverage

Coverage also applies to welfare or pension benefit plans subject to
the Employee Retirement Income Security Act (ERISA). ERISA
requires that the selected limit be equal to the sum of all plan
requirements, if you have more then one plan.

Deductible Amount:

Coverage Extension:
Outside the Coverage Territory: $5,000 Limit

Not Covered

Money and Securities - at "covered locations”
Deductible Amount:

Not Covered

Money and Securities - away from "covered locations" including
conveyance by armored vehicle.

Deductible Amount:

Not Covered

Computer & Telecommunications Fraud Coverage

Deductible Amount:

Not Covered

Counterfeit Money Coverage

Deductible Amount:

Not Covered

Forged Credit Card Written Instruments Coverage
Deductible Amount:

Coverage Extension:
Personal Accounts Extension ($5,000)

Not Covered

Forged Checks Coverage
Deductible Amount:

Coverage Extension:
Personal Accounts Extension ($5,000)

Not Covered

FORMS AND ENDORSEMENTS
See Schedule of Forms.

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fax 263-271-2265
Cheshire, CT 06410-0189 www. housingcenter.com

PREMIUM BREAKDOWN
One South Place LP

Building and
Your
Business Business
Personal Income
Property — ‘Rental Value’ Annual
Loc. No. Project Number Name of Property Premium Premium Premium
143347 Loc 1-01 One South Place $6,022 $411 $6,433
143348 Loc 1-02 One South Place $5,971 $411 $6,382
143349 Loc 1-03 One South Place $5,971 $411 $6,382
$17,964 $1,233 $19,197
HACP 2003 01 08 HEICP-205802-163575-2016 - 09/26/2016 Page 1 of 1

HAI Group* - 189 Commerce Court, Crestirs, C7 06410 | HA Group is a cagisiered sracemark fora farn'ly cf companies which
inc uces Hesing Authority R’sk Reatertior Groug, inc. Heus’rg Authority Prooerty Ir surance, A Mutual Company, dous' ng
Enteror'sa nsuvance Compa ry, inc. anc Fous'ng astrance Services, Inc, (OBA Fousing msurance Agency Sorv’ces in NY and M1).

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CL 0100 03 99
Page 1 of 1

COMMON POLICY CONDITIONS

Assignment -- This policy may not be
assigned without "our" written consent.

Cancellation -- "You" may cancel this policy
by returning the policy to "us" or by giving
“us" written notice and stating at what future
date coverage is to stop.

"We" may cancel this policy, or one or more
of its parts, by written notice sent to "you" at
"your" last mailing address known to "us". If
notice of cancellation is mailed, proof of
mailing will be sufficient proof of notice.

If "we" cancel this policy for nonpayment of
premium, "we" will give "you" notice at least
ten days before the cancellation is effective.
If "we" cancel this policy for any other
reason, "we" will give "you" notice at least
30 days in advance of cancellation. The
notice will state the time that the
cancellation is to take effect.

"Your" return premium, if any, will be
calculated accarding to “our” rules. It will be
refunded to "you" with the cancellation
notice or within a reasonable time. Payment
cr tender of the unearned premium is not a
condition of cancellation.

3. Change, Modification, or Waiver of Policy
Terms -- A waiver or change of the "terms"
of this policy must be issued by “us" in
writing to be valid.

4. Inspections — "We" have the right, but are
not obligated, to inspect "your" property and
operations at any time. This inspection may
be made by "us" or may be made on "our"
behalf. An inspection or its resulting advice
or report does not warrant that "your"
property or operations are safe, healthful, or
in compliance with laws, rules, or
regulations, Inspections or reports are for
"our" benefit only.

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5. Examination of Books and Records —
"We" may examine and audit "your" books
and records that relate to this policy during
the policy period and within three years after
the policy has expired.

CL 0100 03 99
Copyright, American Association of Insurance Services,
1998

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AAIS This endorsement changes

CL 0700 10 06 the policy
Page 1 of 1 ~- PLEASE READ THIS CAREFULLY --

VIRUS OR BACTERIA EXCLUSION

DEFINITIONS

Definitions Amended —

When "fungus" is a defined "term", the definition
of “fungus” is amended to delete reference to a
bacterium.

When "fungus or related perils” is a defined
“term”, the definition of "fungus or related perils"
is amended to delete reference to a bacterium.

PERILS EXCLUDED

The additional exclusion set forth below applies
to all coverages, coverage extensions,
supplemental coverages, optional coverages,
and endorsements that are provided by the
policy to which this endorsement is attached,
including, but not limited to, those that provide
coverage for property, eamings, extra expense,
of interruption by civil authority.

4. The following exclusion is added under
Perils Excluded, item 1.:

Virus or Bacteria —

"We" do not pay for loss, cost, or expense
caused by, resulting from, or relating to any
virus, bacterium, or other microorganism
that causes disease, illness, or physical
distress or that is capable of causing
disease, illness, or physical distress.

This exclusion applies to, but is not limited
to, any loss, cost, or expense as a result of:

a. any contamination by any virus,
bacterium, or other microorganism; or

b. any denial of access to property
because of any virus, bacterium, or
other microorganism.

2. Superseded Exclusions -- The Virus or
Bacteria exclusion set forth by this
endorsement supersedes the "terms" of any
other exclusions referring to “pollutants” or
to contamination with respect to any loss,
cost, or expense caused by, resulting from,
or relating to any virus, bacterium, or other
microorganism that causes disease, illness,
or physical distress or that is capable of
causing disease, illness, or physical
distress.

OTHER CONDITIONS

Other Terms Remain in Effect --

The "terms" of this endorsement, whether or not
applicable to any loss, cost, or expense, cannot
be construed to provide coverage for a loss,
cost, or expense that would otherwise be
excluded under the policy to which this
endorsement is attached.

CL 0700 10 06

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Filed 06/06/17

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AAIS This endorsement changes
CO 1220 10 07 the policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

WINDSTORM OR HAIL DEDUCTIBLE

The "terms" of this endorsement apply to
property for which entries have been made on
the Windstorm Or Hail Schedule or on the
“schedule of coverages" to show a Windstorm Or
Hail Deductible.

All other "terms" of this policy apply.

HOW MUCH WE PAY

Deductible -- The deductible provision under
How Much We Pay is replaced by the provisions
for Flat Deductible or Percentage Deductible
when loss to covered property identified on the
Windstorm Or Hail Schedule is caused by or
results from windstorm or hail.

1. Applicable Deductible — The Windstorm Or
Hail Deductible indicated on the Windstorm
Or Hail Schedule is applicable to loss or
damage to covered property caused directly
or indirectly by the perils of windstorm or hail.

2. Weather Condition Other Than Windstorm
Or Hail — Loss or damage resulting from a
covered weather condition, other than
windstorm or hail, will be considered to be
caused by windstorm or hail and will be
considered part of the windstorm or hail
occurrence if the loss or damage would not
have occurred without the weather conditions
of windstorm or hail.

3. Flat Deductible — When a flat dollar
deductible is indicated on the Windstorm Or
Hail Schedule, "we" pay only that part of
"your" loss over the deductible amount in any
one occurrence.

4. Percentage Deductible —

a. Percentage -- When a 1%, 2%, or 5%
deductible is indicated on the Windstorm
Or Hail Schedule, “we" pay only that part
of "your" loss over the deductible amount
in any one occurrence. The deductible
amount is determined by applying the
percentage indicated on the schedule to
the value of the covered property that is
involved in the loss.

b. Value Determined At Time Of Loss --
Only as regards the determination of the
Percentage Deductible, the value of
covered property is determined at the
time of loss or damage and in
accordance with the provisions described
under the Valuation section of the policy.

c. Deductible Applies Separately -- The
windstorm or hail percentage deductible
applies separately to:

1) each building or structure, including
business personal property within
each building or structure;

2) business personal property in each
building or structure that is not
covered by this policy; and

3) business personal property in the
open or in a vehicle.

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AAIS This endorsement changes
CL 0610 01 15 the policy
Page 1 of 1 -- PLEASE READ THIS CAREFULLY --

CERTIFIED ACT OF TERRORISM EXCLUSION

1. The following definition is added. 2. The following exclusion is added.

"Certified act of terrorism” means an act that
is certified by the Secretary of the Treasury,
' in consultation with the Secretary of
Homeland Security, and the Attorney
General of the United States:

a. tobe an act of terrorism;

b. to be a violent act or an act that is
dangerous to human life, property, or
infrastructure;

c. to have resulted in damage:

1) within the United States; or

2) to an air carrier (as defined in section
40102 of title 49, United States
Code); to a United States flag vessel
(or a vessel based principally in the
United States, on which United
States income tax is paid and whose
insurance coverage is subject to
regulation in the United States),
regardless of where the loss occurs;
or at the premises of any United
States mission;

d. to have been committed by an individual
or individuals, as part of an effort to
coerce the civilian population of the
United States or to influence the policy or
affect the conduct of the United States
Government by coercion; and

e. to have resulted in insured losses in
excess of five million dollars in the
aggregate, attributable to ail types of
insurance subject to the Terrorism Risk
Insurance Act, as amended.

CERTIFIED ACT OF TERRORISM
EXCLUSION

"We" will not pay for loss or damage caused
directly or indirectly by a "certified act of
terrorism". Such loss or damage is excluded
regardless of any other cause or event that
contributes concurrently or in any sequence
to the loss.

The following provisions are added.

a. Neither the "terms" of this endorsement
nor the “terms" of any other terrorism
endorsement attached to this Coverage
Part provide coverage for any loss that
would otherwise be excluded by this
Coverage Part under:

1) exclusions that address war, military
action, or nuclear hazard; or
2) any other exclusion; and

b. the absence of any other terrorism
endorsement does not imply coverage
for any loss that would otherwise be
excluded by this Coverage Part under:

1) exclusions that address war, military
action, or nuclear hazard; or
2) any other exclusion.

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COMMERCIAL OUTPUT PROGRAM
PROPERTY COVERAGE PART
d. explosion of steam boilers, steam pipes,
AGREEMENT steam turbines, or steam engines that

In retum for "your" payment of the required
premium, "we" provide the coverage described
herein subject to all the "terms” of the
Commercial Output Program. This coverage is
also subject to the "schedule of coverages" and
additional policy conditions relating to
assignment or transfer of rights or duties,
cancellation, changes or modifications,
inspections, and examination of books and
records.

Endorsements and schedules may also apply.
They are identified on the “schedule of
coverages".

Refer to Definitions for words and phrases that
have special meaning. These words and phrases
are shown in quotation marks or bold type.

a

DEFINITIONS

1. The words "you" and “your” mean the
persons or organizations named as the
insured on the "schedule of coverages".

2. The words "we", "us", and “our” mean the
company providing this coverage.

3. "Accident" means direct physical loss as
follows:

a. mechanical breakdown;

b. rupturing or bursting of moving parts of
machinery caused by centrifugal force;

c, loss caused by arcing or electrical
currents other than lightning;

“you" own or lease or that are operated
under "your" control;

e. loss to steam boilers, steam pipes,
steam turbines, or steam engines caused
by any condition or occurrence within
such equipment; or

f. loss to hot water boilers or heaters
caused by any condition or occurrence
within such equipment.

"Business" means the usual business
operations occurring at “covered locations"
including the tenantability of "covered
locations" when the selected coverage option
includes "rents".

"Computers" means:

a. "hardware" owned by "you" or in "your"
care, custody, or control; or

b. “software”.

"Computer hacking" means an unauthorized
intrusion by an individual or group of
individuals, whether employed by "you" or
not, into a "computer", a Web site, or a
“computer” network and that results in but is
not limited to:

a. deletion, destruction, generation, or
modification of "software";

b.- alteration, contamination, corruption,
degradation, or destruction of the
integrity, quality, or performance of
“software”;

c. observation, scanning, or copying of
“data records", “programs and
applications”, and “proprietary
programs’;

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d. damage, destruction, inadequacy,
malfunction, degradation, or corruption of
any “hardware" or "media" used with
“hardware”; or

e. denial of access to or denial of services
from "computers", “computer” network, or
Web site including related "software".

“Computer virus" means the introduction into
a “computer”, “computer” network, or Web
site of any malicious, self-replicating
electronic data processing code or other
code and that is intended to result in, but is
not limited to:

a. deletion, destruction, generation, or
modification of "software";

b. alteration, contamination, corruption,
degradation, or destruction of the
integrity, quality, or performance of
“software”;

c. damage, destruction, inadequacy,
malfunction, degradation, or corruption of
any "hardware" or "media" used with
“hardware”; or

d. denial of access to or denial of services
from "computers", "computer" network, or
Web site including related "software".

"Covered equipment", unless otherwise
specified in a schedule, means equipment:

a. that generates, transmits, or utilizes
energy; or

b. which, during normal usage, operates
under vacuum or pressure, other than
the weight of its contents.

Such equipment must be covered property,
except as specifically provided for under
Utility Service Interruption coverage and the
Spoilage Coverage Part.

"Covered equipment" does not mean:

a. equipment manufactured by "you" for
sale;

b. buildings, structures, or compartments
that cover or house "covered
equipment";

c. foundations that support "covered
equipment"; ,

d. sewage and other underground piping
and vessels, water piping, or sprinkler
system piping. However, "we" cover:

1) boiler feedwater and condensate
return piping; and

2) water piping for heating, air
conditioning, or refrigeration
systems;

e. "mobile equipment", including but not
limited to draglines or other excavation
equipment;

f. aircraft or watercraft and their motors,
equipment, and accessories;

g. automobiles, motor trucks, tractors,
trailers, and similar conveyances and
their motors, equipment, and
accessories. However, any property that
is stationary, permanently installed at a
“covered location", and receives
electrical power from an external power
supplier will not be considered an
automobile, motor truck, tractor, or
trailer; or

h. “computers”.

"Covered location" means any location or
premises where "you" have buildings,
structures, or business personal property
covered under this coverage.

However, if the Scheduled Locations
Endorsement is added to this policy,
“covered location" means a location that is
described on the Location Schedule.

"Covered location" does not mean vehicles
containing covered property, except vehicles
on or within 1,000 feet of the premises of any
covered building or structure,

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40. "Data records" means files, documents, and

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14.

information in an electronic format and that
are stored on "media",

"Dependent locations" means locations that
are operated by others and that "your"
“business” depends on, as described below.
Dependent locations includes but is not
limited to:

a. contributing locations, these are "your"
suppliers’ locations or locations of
suppliers that deliver services or
materials to others for “your” account.
Contributing focations do not include
suppliers of:

1) water;

2) telecommunications, including but
not limited to Internet service
providers; or

3) power;

b. recipient locations, these are locations
that receive "your" products;

c. leader locations, these are locations that
attract customers to “your" “business; or

d. manufacturing locations, these are
locations that make products for delivery
to “your" customers under contract of
sale.

“Fine arts" means bona fide works of art of
rarity, historical value, or artistic merit,
including but not limited to paintings,
etchings, pictures, tapestries, and art glass
windows.

"Flood" means flood, surface water, waves,
tidal water, or the overflow of a body of
water, all whether driven by wind or not. This
includes spray that results from any of these
whether driven by wind or not.

“Hardware” means a network of electronic
machine components (microprocessors)
capable of accepting instructions and
information, processing the information
according to the instructions, and producing
desired results. "Hardware" includes but not
limited to:

15.

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18.

19.

a. mainframe and mid-range computers
and servers; -

b. personal computers and workstations;

c. laptops, palmtops, notebook PCs, other
portable computer devices and
accessories including, but not limited to,
multimedia projectors; and

d. peripheral data processing equipment,
including but not limited to, printers,
keyboards, monitors, and modems.

“Limit” means the amount of coverage that
applies.

"Media" means an instrument that is used
with "hardware" and on which “data records",
“programs and applications”, and proprietary
programs can be recorded or stored. "Media"
includes, but is not limited to, films, tapes,
cards, discs, drums, cartridges, cells, DVDs,
or CD-ROMs.

“Mobile equipment" means:

a. contractors’ equipment or similar
equipment of a mobile or floating nature;

b. self-propelled vehicles designed and
used primarily to carry mounted
equipment; or

c. vehicles designed for highway use that
are unlicensed and not operated on
public roads.

"Money" means currency, bullion, coins,
bank notes in current use, and traveler's
checks, register checks, and money orders
held for sale to the public.

"Off-site server" means a server for "your"
Web site that is being maintained or operated
by and that is located at the premises of:

a. an independent contractor acting as
“your Web host; or

b. “your” Internet service provider that is
acting as "your" Web host.

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20. “One accident" means:

When an initial "accident" causes or results
in other "accidents", all of the “accidents” will
be considered "one accident". All “accidents”
that are the result of the same occurrence
will be considered "one accident",

21. "Perishable stock" means personal property
preserved and maintained under controlled
conditions and susceptible to loss or damage
if the controlled conditions change.

22, “Pollutant” means:

a. any Solid, liquid, gaseous, thermal, or
radioactive irritant or contaminant,
including but not limited to acids, alkalis,
chemicals, fumes, smoke, soot, vapor,
and waste. Waste includes materials to
be recycled, reclaimed, or reconditioned,
as well as disposed of; and

b. electrical or magnetic emissions, whether
visible or invisible, and sound emissions.

23. "Programs and applications" means
operating programs and applications that
“you" purchase and that are:

a, stored on "media"; or

b. pre-installed and stored in "hardware".
Applications includes, but is not limited to,
programs for word processing, spreadsheet
calculations, and graphic design.

24. "Proprietary programs” means proprietary
operating programs and applications that
“you" developed or that "you" had developed
specifically for "you" and that are:

a. stored on "media"; or
b. installed and stored in “hardware”.

25, "Rents" means "your" actual loss of:

a. rental income from a “covered location"

as furnished or equipped by "you", less
any expenses that do not continue;

b. the fair rental value of any part of a
“covered location" that "you" occupy, less
any expenses that do not continue; and

c. other charges for which a tenant is
legally obligated and which "you" would
otherwise be obligated.

26. "Restoration period” means:

a. The time it should reasonably take to
resume "your" “business” to a similar
level of service starting from the date of a
physical loss of or damage to property at
a “covered location" that is caused by a
covered peril and ending on the date:

4) the property should be rebuilt,
repaired, or replaced; or

2) business is resumed at a new
permanent location.

This is not limited by the expiration date
of the policy.

b. The "restoration period" also means the
increased time required to comply with
the enforcement of any ordinance, law,
or decree that:

1) regulates the construction, use, or
repair of any property; or

2) requires the demolition of any
property, in part or in whole, not
damaged by a covered peril.

However, except as provided under
Supplemental Income Coverage,
Pollutant Cleanup and Removal, "we" do
not cover the costs associated with the
enforcement of any ordinance, law, or
decree that requires "you" or anyone
else to test for, monitor, clean up,
remove, contain, treat, detoxify, or
neutralize or in any way respond to or
assess the effects of "pollutants".

The ordinance, law, or decree must be in
force at the time of loss.

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c. Only as regards coverage described
under Dependent Locations in the
Supplemental Income Coverages,
“restoration period" also means the time
it should reasonably take to resume
"your" "business" starting from the date
of direct physical loss of or damage to a
"dependent location" caused by a
covered peril, and ending on the date:

1) the property at the “dependent
location" should be rebuilt, repaired,
or replaced; or

2) business is resumed at a new,
permanent location.

This is not limited by the expiration date
of the policy.

d. Only as regards coverage described
under Off Premises Utility Service
Interruption; and Property In Transit, On
Exhibition, or In the Custody Of Sales
Representatives in the Supplemental
Income Coverages, “restoration period"
also means the time it should reasonably
take to resume "your" "business" starting
from the date of direct physical loss of or
damage caused by a covered peril to:

1) property not located at a "covered
location" and that is owned by a
utility, a landlord, or another utility
supplier;

2) the “off-site server" for "your" Web
site or the location that houses the
“off-site server" for "your" Web site;

3) property in transit, on exhibition, or in
the custody of sales representatives;

and ending on the date the property
should be rebuilt, repaired, or replaced.
This is not limited by the expiration date
of the policy.

27. "Schedule of coverages" means:
a. all pages labeled schedule of coverages

or schedules which pertain to this
coverage; and

b. declarations or supplemental
declarations which pertain to this
coverage.

28. "Securities" means negotiable and
nonnegotiable instruments or contracts
representing either "money" or other
property. This includes, but is not limited to,
stock certificates; tokens, tickets, revenue, or
stamps (whether represented by actual
stamps or unused value in a meter) in
current use; and evidences of debt used in
connection with charge, credit, or debit cards
that are not issued by "you", but does not

_ include "money".

29. "Sinkhole collapse" means the sudden
settlement or collapse of earth supporting the
covered property into subterranean voids
created by the action of water on a limestone
or similar rock formation. {t does not include
the value of the land or the cost of filling
sinkholes.

30. "Software" means:
a. “media’;
b. “data records";
c. “programs and applications"; and
d. “proprietary programs".

31. "Specified perils" means aircraft; civil
commotion; explosion; falling objects; fire;
hail; teakage from fire extinguishing
equipment; lightning; riot; "sinkhole collapse";
smoke; sonic boom; vandalism; vehicles;
"volcanic action"; water damage; weight of
ice, snow, or sleet; and windstorm.

Falling objects does not include loss to:

a. business personal property in the open;
or

b. to the interior of buildings or structures,
or business personal property inside
buildings or structures unless the exterior
of the roof or walls are first damaged by
a falling object.

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Water damage means the sudden or
accidental discharge or leakage of water or
steam as a direct result of breaking or
cracking of a part of the system or appliance
containing the water or steam.

32. "Spoilage” means any detrimental change in
physical state of "perishable stock".
Detrimental change includes, but is not
limited to, thawing of frozen goods, warming
of refrigerated goods, solidification of liquid or
molten material, chemical reactions to
material in process, and reduction in value of
time sensitive materials.

33. "Terms" are all provisions, limitations,
exclusions, conditions, and definitions that

apply.

34. “Theft” means any act of stealing, including
burglary or robbery.

35. “Valuable papers" means documents,
manuscripts, or records that are inscribed,
printed, or written. This includes, but is not
limited to, abstracts, books, deeds, drawings,
films, maps, or mortgages.

36. "Volcanic action" means airborne volcanic
blast or airborne shock waves; ash, dust, or
particulate matter; or lava flow. It does not
include the cost to remove ash, dust, or
particulate matter that does not cause direct
physical loss to the covered property.

PROPERTY COVERED

"We" cover the following property unless the
property is excluded or subject to limitations.

"We" cover direct physical loss to covered
property at a “covered location" caused by a
covered peril.

BUILDING PROPERTY
1. Covered Building Property -- Covered

Building Property means buildings and
structures and:

completed additions;

fixtures, machinery, and equipment
which are a permanent part of a covered
building or structure;

outdoor fixtures;

personal property owned by "you" and
used to maintain or service a covered
building or structure or its premises. This
includes air-conditioning equipment; fire
extinguishing apparatus; floor coverings;
and appliances for refrigerating, cooking,
dish washing, and laundering;

if not covered by other insurance,
buildings and additions to buildings
under construction, alteration, and repair
including:

1) materials, equipment, supplies, and
temporary structures, on or within
1,000 feet of a “covered location",
intended and designated for use in
the construction, alteration, and
repair of buildings or additions to
buildings; and

2) "your" contractual liability for the
interest of contractors and sub-
contractors in buildings and additions
to buildings under construction,
alteration, and repair such as
materials, equipment, supplies, and
temporary structures, on or within
1,000 feet of a "covered location",
intended and designated for use in
the construction, alteration, and
repair of buildings or additions to
buildings;

building glass;

the following property if it is located on or
within 1,000 feet of a covered building or
structure:

1) radio and television towers,
antennas, satellite dishes, masts,
lead-in wiring, and guy wires. This
includes foundations and any other
property that is permanently attached
to any of these types of property;

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2) awnings or canopies; and b. leased personal property which "you"
3) fences; have a contractual responsibility to

h. signs, whether or not they are attached
to covered buildings, or structures; or Cc.

i. foundations of buildings, structures,
machinery, or boilers.

2. Building Property That Is Not Covered --
Except as provided under Supplemental
Coverages - Underground Pipes, Pilings, e.
Bridges and Roadways, Covered Building
Property does not include:

a. pilings, piers, wharves, docks, or
retaining walls;

b. underground pipes, flues, or drains; and

c. bridges, walkways, roadways, and other
paved surfaces.

BUSINESS PERSONAL PROPERTY

1. Covered Business Personal Property -- f.
Covered business personal property means
"your" business personal property in
buildings or structures at a "covered location"
or in the open (or in vehicles) on or within
1,000 feet of a “covered location". This
includes:,

a. "your" use interest as a tenant in
improvements to the buildings or
structures. Improvements are fixtures,
alterations, installations, or additions:

1) toa building or structure "you"
occupy but do not own; and

2) made or acquired at "your" expense
and which cannot be legally removed
by “you".

"We" also cover "your" interest as a
tenant in undamaged improvements that
"you" lose because “your” lease has
been canceled by the lessor as a result
of damage to the building or structure
"you" occupy but do not own. The
damage to the building must be caused
by a covered peril; a.

insure;

“your” interest in personal property of
others to the extent of "your" labor,
material, and services;

“computers”, if not covered by other
insurance;

personal property which will become a
part of "your" installation, fabrication, or
erection project while:

1) atthe site of installation, fabrication,
or erection, or

2) while in temporary storage awaiting
installation, fabrication, or erection.

Coverage under this provision is not
restricted to buildings or structures at a
"covered location” or within 1,000 feet of
a “covered location";

"mobile equipment", if not covered by
other insurance. Coverage under this
provision is not restricted to buildings or
structures at a "covered location” or
within 1,000 feet of a "covered locatian”:
and

personal property of others. This means
personal property of others that is in
"your" care, custody, or control.

Personal property of others includes
property that is sold under an installation
agreement where "your’ responsibility
continues until the property is accepted
by the buyer.

“Our" payment for loss to personal
property of others will only be for the
benefit of the owners of the personal

property.

2. Business Personal Property That Is Not
Covered - Covered business personal
property does not include:

“off-site server"; and

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b. except as provided under Supplemental
Marine Coverages;

1) personal property in transit as
described under Property in Transit;

2) “fine arts" as described under Fine
Arts; ,

3) “computers” while away from a
“covered location" as described
under Off Premises Computers;

4) property while temporarily on display
or exhibit as described under
Property On Exhibition;

5) samples of "your" stock as described
under Sales Representative
Samples; and

6) duplicate or back-up “software” as
described under Software Storage.

PROPERTY NOT COVERED

1. Airborne or Waterborne Property -- “We”
do not cover airborne or waterbome personal
property unless the property is being
transported by regularly scheduled airlines or
ferry service.

2. Aircraft or Watercraft -- "We" do not cover
aircraft or watercraft (and their motors,
equipment, and accessories) that are
operated principally away from a “covered
location”. However, "we" do cover:

a. aircraft or watercraft (and their motors,
equipment, and accessories) that "you"
manufacture, process, warehouse, or
hold for sale; and

b. rowboats or canoes out of water at a
“covered location".

3. Animals -- "We" do not cover animals,
including but not limited to birds and fish,
unless owned by others and boarded by
"you". "We" do cover animals "you" own and
hold for sale while inside of buildings.

10.

Automobiles and Vehicles -- "We" do not
cover automobiles, motor trucks, tractors;
trailers, and similar conveyances designed
and used for over-the-road transportation of
people or cargo.

"We" do cover:

a. “mobile equipment" described under
Business Personal Property; and

b. automobiles and vehicles that "you"
manufacture, process, or warehouse.
However, "we" do not cover automobiles
or vehicles held for sale, lease, loan or
rental.

Checked Luggage — "We" do not cover loss
resulting from "theft" or disappearance of a
laptop, palmtop, notebook PC, or any
portable "computer” while in transit as
checked luggage.

Contraband — "We" do not cover contraband
or property in the course of illegal
transportation or trade.

Cost of Excavation -- "We" do not cover the
cost of excavations, grading, filling, or
backfilling. However, if a covered loss occurs
to covered property below the surface of the
ground, "we" cover costs that are a
necessary part of the repairing, rebuilding, or
replacement of the property.

Crops While Outside of Buildings — "We"
do not cover grain, hay, straw, or other crops
while outside of buildings.

Exports and Imports — "We" do not cover
exported or imported property that is covered
under any ocean marine cargo insurance
policy or any similar policy that anyone has
obtained covering exports and imports.

Land, Water, and Growing Crops -- "We"
do not cover:

a. land, including but not limited to fand on
‘which the covered property is located;

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b. underground or surface water; or
c. growing crops.

11, Money, Securities, Accounts, and
Valuable Papers -- Except as provided
elsewhere in this policy, "we" do not cover
"money", "securities", accounts, bills, and the
cost to reproduce, replace, or restore
“valuable papers" and lost information.

12. Outdoor Trees, Shrubs, Plants, or Lawns -
- Except as provided under Supplemental
Coverages - Trees, Shrubs, and Plants, "we"
do not cover trees, shrubs, plants, or lawns
{other than stock).

13, Property More Specifically Insured -- "We"
do not cover property which is more
specifically insured in whole or in part by any
other insurance. "We" do cover the amount in
excess of the amount due from the more
specific insurance whether “you" can collect
on it or not.

14. Property of Others — "We" do not cover
property of others for which "you" are
responsible as:

a. acarrier for hire; or

b. an arranger of transportation. This
includes carloaders, consolidators,
brokers, freight forwarders, or shipping
associations.

15. Property You Have Sold -- "We" do not
cover property that "you" have sold after it
has been delivered. This does not include
property which "you" have sold under an
installation agreement.

COVERAGE EXTENSIONS

The following Coverage Extensions indicate an
applicable “limit”. This "limit" may also be shown
in the "schedule of coverages". If a different
"limit" is indicated in the "schedule of coverages”,
that "limit" will apply instead of the “limit” shown
below.

However, if no "limit" is indicated for a Coverage
Extension, coverage is provided up to the full
“timit" for the applicable covered property unless
a different "limit" is indicated on the “schedule of
coverages".

Unless otherwise indicated, the coverages
provided below are part of and not in addition to
the applicable "limit" for coverage described
under Property Covered.

The "limit" provided under a Coverage Extension
cannot be cambined or added to the "limit" for
any other Coverage Extension or Supplemental
Coverage including a Coverage Extension or
Supplemental Coverage that is added to this
policy by endorsement.

The following coverage extensions are not
subject to and not considered in applying
coinsurance when coinsurance conditions are
added to this coverage.

1. Consequential Loss -- "We" pay for "your"
consequential loss of undamaged business
personal property. Consequential loss means
the loss of value of an undamaged part or
parts of a product which becomes
unmarketable. It must be unmarketable due
to a physical loss to another part or parts of
the product caused by a covered peril.

2. Debris Removal — "We’ pay the cost to
remove the debris of covered property that is
caused by a covered peril. This coverage
does not include costs to:

a. extract "pollutants" from land or water; or

b. remove, restore, or replace polluted land
or water.

"We" do not pay any more under this
coverage than 25% of the amount “we" pay
for the direct physical loss. "We" will not pay
more for loss to property and debris removal
combined than the "limit" for the damaged
property.

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However, "we" pay up to an additional
$50,000 for debris removal expense when
the debris removal expense exceeds 25% of
the amount "we" pay for direct physical loss
or when the loss to property and debris
removal combined exceeds the "limit" for the
damaged property.

"We" do not pay any expenses unless they
are reported to "us" in writing within 180 days
from the date of direct physical loss to
covered property.

Emergency Removal -- "We" pay for any
direct physical loss to covered property while
‘it is being moved or being stored to prevent a
loss caused by a covered peril. This
coverage applies for up to 365 days after the
property is first moved, but does not extend
past the date on which this policy expires.

Emergency Removal Expenses — "We" pay
up to $5,000 for "your” expenses to move or
store covered property to prevent a loss
caused by a covered peril. This coverage
applies for up to 365 days after the property
is first moved, but does not extend past the
date on which this policy expires.

The "limit" for Emergency Removal
Expenses is separate from, and not part of,
the applicable "limit" for coverage described
under Property Covered.

Fraud and Deceit -- "We" pay up to $5,000
for "theft" of covered property when "you",

"your" agents, customers, or consignees are
fraudulently induced to part with the covered

property:

a. to persons who falsely represent
themselves as the proper persons to
receive the property; or

b. by the acceptance of fraudulent bills of
lading or shipping receipts.

6, Damage From Theft — "We" cover direct
physical damage caused by "theft" or
attempted “theft” to:

a. a building that "you" do not own and that
contains “your” business personal
property, or

b. personal property not owned by "you"
within such building and that is used to
maintain or service the building or
structure or its premises.

This coverage extension only applies to a
location where "you" are a tenant and the
terms of “your" lease make "you" fiable for
damage caused by "theft" or attempted
"theft",

7. Off Premises Utility Service Interruption

a. Coverage -- "We" cover direct physical
loss or damage caused by the
interruption of an off premises utility
service when the interruption:

1) results in the direct physical loss or
damage to covered property located
at a "covered location”; and

2) is aresult of direct physical loss or
damage by a covered peril to
property that is not located at a
"covered location" and that is owned
by a utility, a landlord, or another
supplier who provides "you" with:

a) power or gas;

b) telecommunications, including
but not limited to Internet access;
or

c) water, including but not limited to
waste water treatment.

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b. Overhead Transmission Lines -- If the
"schedule of coverages" indicates that
overhead transmission lines are
excluded, coverage under this extension
‘does not include loss to overhead
transmission lines that deliver utility
service to "you". Overhead transmission
lines include, but are not limited to:

1) overhead transmission and
distribution lines;

2) overhead transformers and similar
equipment; and

3) supporting poles and towers.

c. Perishable Stock Exclusion --
’ Coverage under this extension does not
include loss of "perishable stock” due to
“spoilage” that results from:

1) complete or partial lack of electrical
power; or
2) fluctuation of electrical current.

d. Applicable Limit - The most "we" pay in
any one occurrence under this Coverage
Extension is $50,000.

SUPPLEMENTAL COVERAGES

The following Supplemental Coverages indicate
an applicable limit", This "limit" may also be
shown:in the "schedule of coverages”. If a
different "limit" is indicated in the "schedule of
coverages’, that "limit" will apply instead of the
“timit" shown below.

However, if no “limit" is indicated for a
Supplemental Coverage, coverage is provided up
to the full "limit" for the applicable covered
property unless a different “limit” is indicated on
the "schedule of coverages".

Unless otherwise indicated, a “limit” for a
Supplemental Coverage provided below is
separate from, and not part of, the applicable
"limit" for coverage described under Property
Covered. The “limit" available for coverage —
described under a Supplemental Coverage:

a. is the only “limit" available for the described
coverage; and

b. is not the sum of the "limit" indicated for a
Supplemental Coverage and the "limit" for
coverage described under Property Covered.

The "limit" provided under a Supplemental
Coverage cannot be combined or added to the
"limit" for any other Supplemental Coverage or
Coverage Extension including a Supplemental
Coverage or Coverage Extension that is added to
this policy by endorsement.

Unless otherwise stated, each supplemental
coverage:

a. applies to covered property in or on buildings
or structures at a "covered location" or in the
open (or in vehicles) within 1,000 feet of a
“covered location"; and

b. is not subject to and not considered in
applying coinsurance when coinsurance
conditions are added to this coverage.

1. Brands or Labels Expense -- If covered
business personal property is damaged and
the damage is caused by a covered peril,
"we" have the option to take all or any part of
the damaged business personal property at
the agreed or appraised value. "You" may
stamp salvage or remove any brands or
labels from the property or its containers.
“You" must not damage the property or
containers when "you" remove the brands or
labels. "You" must re-label the merchandise
or its containers if required by law.

The most "we" pay in any one occurrence for
“your' expenses for stamping or removing
brands or labels is $50,000.

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2. Expediting Expenses -- When a covered
peril occurs to covered property, "we" pay for
reasonable expenses necessary to expedite
permanent repairs or replacement and make
temporary repairs to damaged covered
property. Expediting expenses include
additional labor or overtime, and
transportation costs.

The most "we" pay for all expediting
expenses in any one occurrence is $50,000.

3. Fire Department Service Charges — "We"
pay up to $25,000 to cover "your" liability,
assumed by contract or agreement prior to
the loss, for fire department service charges.

This coverage is limited to charges incurred
when the fire department is called to save or
protect covered property from a covered
peril.

No deductible applies.

4, Inventory and Appraisal Expense — "We"
pay up to $50,000 for reasonable expenses,
for the taking of inventory and appraisals,
incurred by “you” at “our’ request to assist
"us" in the determination of the amount of a
loss caused by a covered peril.

"We" do not pay for:

a. any expenses incurred under the Other
Conditions, Appraisal section of this
coverage; or

b. any public adjusters’ fees or attorneys’
fees.

5. Ordinance or Law (Undamaged Parts of a
Building) -- When a covered peril occurs to
a covered building or structure, "we" pay for
the value of undamaged parts of a covered
building or structure that is required to be
demolished as a result of the enforcement of
any ordinance, law, or decree that:

a. requires the demolition of undamaged
parts of a covered building or structure
that is damaged or destroyed by a
covered peril;

_b. regulates the construction or repair of a

building or structure, or establishes
building, zoning, or land use
requirements at a “covered location"; and

c. is in force at the time of loss.

"We" do not cover the costs associated with
the enforcement of any ordinance, law, or
decree that requires "you" or anyone else fo
test for, monitor, clean up, remove, contain,
treat, detoxify, or neutralize or in any way
respond to or assess the effects of
“pollutants”.

This coverage is part of and not in addition to
the applicable "limit" for coverage described
under Property Covered.

Ordinance or Law (Increased Cost to
Repair and Cost to Demolish and Clear
Site) —

a. Increased Cost to Repair -- When a
covered peril occurs to a covered
building or structure, "we" cover the:

1) increased cost to repair, rebuild, or
reconstruct damaged portions of a
covered building or structure; and

2) increased cost to repair, rebuild, or
reconstruct undamaged portions of a
covered building or structure whether
or not those undamaged portions
need to be demolished;

as a result of the enforcement of
building, zoning, or land use ordinance,
law, or decree and is in force at the time
when a cavered peril occurs to a covered
building or structure.

If a covered building or structure is
repaired or rebuilt, it must be intended for
similar occupancy as the current
property, unless otherwise required by
building, zoning, or land use ordinance,
law, or decree.

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“We" do not cover the increased cost of
construction until the covered building or
structure is actually repaired or replaced
and unless the repairs or replacement
are made as soon as reasonably
possible after the loss, not to exceed two
years.

b. Cost to Demolish and Clear Site --
"We" cover the cost to demolish and
clear the site of undamaged parts of the
covered building or structure that is
damaged or destroyed by a covered
peril. The demolition must be a result of
the enforcement of a building, zoning, or
land use ordinance, law, or decree that is
in force at the time when a covered peril
occurs to a covered building or structure.

c. We Do Not Cover -- "We" do not cover
the costs associated with the
enforcement of any ordinance, law, or
decree that:

1) requires "you" or anyone else to test
for, monitor, clean up, remove,
contain, treat, detoxify, or neutralize
or in any way respond to or assess
the effects of "pollutants"; or

2) "you" were required to comply with
before the covered peril occurred to
a covered building or structure, even
if the building or structure was
undamaged and "you" failed to
comply with the ordinance, law, or
decree.

d. What We Pay If The Building Is
Repaired or Replaced -- If the covered
building or structure is repaired or
replaced, "we" pay the lesser of:

1) the amount “you" actually spend to
demolish and clear the site, plus the
actual increased cost to repair,
rebuild, or construct the property but
not for more than a building or
structure of the same height, floor
area, and style; or

2) $100,000.

e. What We Pay If The Building Is Not
Repaired or Replaced -- If the covered
building or structure is not repaired or
replaced, "we" pay the lesser of:

1) the amount "you" actually spend to
demolish and clear the site; plus the
cost "you" would have incurred to
replace the damaged or destroyed
property with other property:

a) of like kind, and quality;

b) of the same height, floor area,
and style; and

c) used for the same purpose; or

2) $100,000.

Personal Effects -- "We" cover direct
physical loss caused by a covered peril to
personal effects owned by "you", "your"
officers, “your” partners, or "your"
employees.

The most "we" pay for loss to personal
effects in any one occurrence or at any one
“covered location" is $15,000.

Pollutant Cleanup and Removal -- "We"
pay "your" expense to extract "pollutants"
from land or water if the discharge, dispersal,
seepage, migration, release, or escape of the
“pollutants” is caused by a covered peril that
occurs during the policy period. The
expenses are paid only if they are reported to
us" in writing within 180 days from the date
the covered peril occurs.

"We" do not pay the cost of testing,
evaluating, observing, or recording the
existence, level, or effects of “pollutants”.
However, "we" pay the cost of testing which
is necessary for the extraction of "pollutants"
from land or water.

The most "we" pay for each site or "covered
location" is $50,000 for the sum of all such
expenses arising out of a covered peril
occurring during each separate 12 month
period of this policy.

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9.

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11.

Recharge of Fire Extinguishing
Equipment -- "We" pay up to $50,000 to ©
cover "your" incurred expenses to recharge
"your" automatic fire extinguishing equipment
or hand held fire extinguishing equiprnent
when the equipment is discharged:

a. to fight a fire;
b. asa result of a covered peril; or
c. asa result of an accidental discharge.

However, "we" do not pay for "your"
expenses to recharge equipment as a result
of a discharge during testing or installation.

If it is less expensive to do so, "we" will pay
"your" costs to replace "your" automatic fire
extinguishing equipment or hand held fire
extinguishing equipment rather than
recharge the equipment.

Rewards ~ "We" pay up to $10,000 as a
reward for information that leads to a
conviction for arson, "theft", or vandalism.
The conviction must involve a covered loss
caused by arson, "theft", or vandalism.

The amount "we" pay is not increased by the
number of persons involved in providing the
information.

Sewer Backup and Water Below the
Surface - "We" cover direct physical loss
caused by:

a. water that backs up through a sewer or
drain; or

b. water below the surface of the ground,
including but not limited to water that
exerts pressure on or flows, seeps, or
leaks through or into a covered building
or structure, sidewalk, driveway,
foundation, swimming pool, or other
structure,

The most “we" pay for loss caused by sewer
backup and water below the surface in any
one occurrence is $25,000.

. Trees, Shrubs, and Plants - "We" cover

direct physical loss (and debris removal
expenses) to outdoor trees, shrubs, plants,
and lawns at a "covered location", "We" only
cover loss caused by:

a. fire;
b. lightning;
c. explosion;

d. riot or civil commotion;
e. falling objects; or
f. vandalism.

The most "we" pay for loss to trees, shrubs,
and plants in any one occurrence is $50,000.

Coverage under this supplemental coverage
does not apply to property held for sale by
*you",

. Underground Pipes, Pilings, Bridges, and

Roadways -- "We" cover direct physical loss
caused by a covered peril to:

a. pilings, piers, wharves, docks, or
retaining walls;

b. underground pipes, flues, or drains; and

c. bridges, walkways, roadways, and other
paved surfaces.

The most "we" pay under this Supplemental
Coverage in any one occurrence or at any
one "covered location" is $250,000.

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1. Accounts Receivable -- "We" pay up to
SUPPLEMENTAL MARINE $50,000 to cover losses and expenses that
COVERAGES “you" incur as a result of a direct physical

loss caused by a covered peril to "your"
records of accounts receivable.

The following Supplemental Marine Coverages
indicate an applicable "limit". This "limit" may also
be shown in the “schedule of coverages". !f a
different "limit" is indicated in the “schedule of a. all sums due "you" from customers,

coverages’, that "limit" will apply instead of the provided "you are unable to effect
limit" shown below.

Losses and expenses under this coverage
means:

collection;
However, if no "limit" is indicated for a / b. interest charges on any loan used to
Supplemental Marine Coverage, coverage is offset impaired collections pending "our"

provided up to the full "limit" for the applicable

: tee ayment of such sums;
covered property unless a different “limit” is payment o

indicated on the "schedule of coverages”. c. collection expenses in excess of normal
on _ collection costs made necessa

Unless otherwise indicated, a "limit" for a because of loss or damage: and

Supplemental Marine Coverage provided below ,

is separate from, and not part of the applicable d. other reasonable expenses incurred by

“limit" for coverage described under Property "you" in recreating records of accounts

Covered. The "limit" available for coverage receivable following such loss or

described under a Supplemental Marine damage

Coverage: .

2. Electrical or Magnetic Disturbance of
Computers — "We" cover direct physical loss
fo "computers" caused by electrical or
magnetic disturbance that results in electrical
or magnetic damage to "computers" and
damage to, disturbance of, or erasure of
electronic records.

a. is the only "limit" available for the described
coverage; and

b. is not the sum of the “limit” indicated for a
Supplemental Marine Coverage and the
"limit" for coverage described under Property
Covered.

This coverage is part of and not in addition to
the applicable "limit" for coverage described
under Property Covered.

The "limit" provided under a Supplemental

Marine Coverage cannot be combined or added

to the “limit" for any other Supplemental Marine
Coverage, Supplemental Coverage, or Coverage 3
Extension including a Supplemental Marine __ .
Coverage, Supplemental Coverage, or Coverage
Extension that is added to this policy by

endorsement.

Power Supply Disturbance of Computers -
~ "We" cover direct physical loss to
"computers" caused by power supply
disturbance such as interruption of power
supply, power surge, blackout, or brownout.

The following supplemental marine coverages
are not subject to and not considered in applying
coinsurance when coinsurance conditions are
added to this coverage.

This coverage is part of and not in addition to
the applicable "limit" for coverage described
under Property Covered.

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4. Virus and Hacking Coverage -- "We" cover
direct physical loss to covered "computers",
"your" "computer" network and "your" Web
site caused by a "computer virus" or by
"computer hacking”. However, "we" do not
cover:

a. loss of exclusive use of any "data
records" or "proprietary programs” that
have been copied, scanned, or altered;

b. loss of or reduction in economic or
market value of any “data records" or
“proprietary programs” that have been
copied, scanned, or altered;

c. theft from "your” “data records" or
“proprietary programs" of confidential
information through the observation of
the "data records" or "proprietary
programs" by accessing covered
“computers”, "your" computer network, or
“your” Web site without any alteration or
other physical loss or damage to the
records or programs.

Confidential information includes, but is
not limited to, customer information,
processing methods, or trade secrets;
and

d. except as provided under the
Supplemental Income Coverages section
of the Commercial Output Program -
Income Coverage Part (if attached to this
policy), denial of access to or services
from “computers”, "your" “computer”

network, or "your" Web site.

The most "we" pay in any one occurrence
under this Supplemental Marine Coverage is
$25,000.

The most "we" pay for all covered losses
under this Supplemental Marine Coverage
during each separate 12-month period of this
policy is $50,000.

Fine Arts -- "We" cover direct physical loss
caused by a covered peril to "your" "fine arts"
at a "covered location". "We" also cover
"your" "fine arts" while:

a. temporarily on display or exhibit away
from a “covered location"; or

b. in transit between a "covered location"
and a location where the "fine arts” will
be temporarily on display or exhibit.

The most "we" pay for loss to "fine arts" in
any one occurrence or at any one "covered
location" is $100,000.

Off Premises Computers ~— "We" cover
direct physical loss caused by a covered peril
to "computers" in the custody of "you", "your"
officers, "your" partners, or "your"
employees, while:

a. away from a “covered location"; or

b. in transit between a "covered location"
and "you", “your” officers, “your”
partners, or “your” employees.

The most "we" pay in any one occurrence for
loss to off premises "computers" is $25,000.

Property on Exhibition — "We" cover direct
physical loss caused by a covered peril to
business personal property while temporarily
on display or exhibit at locations "you" do not
regularly occupy.

The most "we" pay in any one occurrence for
loss to property on exhibition is $50,000.

Property in Transit — "We" cover direct
physical loss caused by a covered peril to
business personal property while in transit,
regardless if the loss involves one or more
vehicles, conveyances, containers, trailers,
or any combination of these.

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a. Property You Have Sold ~ "We" also
cover direct physical loss caused by a
covered peril to business personal
property that "you" have sold and are
shipping at the owner's risk. "We" only
pay for loss to business personal
property that “you” have sold when the
shipment has been rejected by the owner
because:

1) the property is damaged; and
2) the owner of the property has
refused to pay "you".

b. Rejected Shipments — "We" also cover
direct physical loss caused by a covered
peril to rejected shipments while in due
course of transit back to "you" or while
awaiting return shipment to "you".

c. Bills of Lading — "You" may accept bills
of lading or shipping receipts issued by
carriers for hire that limit their liability to
less than the actual cash value of the
covered property.

d, Perishable Stock — "We" do not cover
loss to "perishable stock" resulting from a
breakdown of refrigeration equipment on
any vehicle, conveyance, container, or
trailer.

The most "we" pay in any one occurrence for
loss to property in transit is $50,000.

Sales Representative Samples -- "We"
cover direct physical loss caused by a
covered peril to samples of "your" stock in
trade (and containers) and similar property of
others.

"We" cover samples of “your” stock in trade
while the property is:

a. in the custody of "your" sales
representatives arid agents;

b. in"your" custody while acting as a sales
representative; or

-¢, in transit between a “covered location"
and "your" sales representatives.

The most "we" pay in any one occurrence for
loss to samples of "your" stock in trade is
$50,000.

10. Software Storage -- "We" cover direct
physical loss caused by a covered peril to
duplicate and back-up "software" stored at a
“software” storage location. Each "software"
storage location must be in a ‘separate
building which is at ieast 100 feet away from
a “covered location".

The most "we" pay in any one occurrence for
loss to duplicate and back-up "software" is
$50,000.

11. Valuable Papers -- "We" pay up to $100,000
for the cost of research or other expenses
necessary to reproduce, replace, or restore
lost information that results from a direct
physical loss caused by a covered peril to
"your “valuable papers”.

PERILS COVERED

"We" cover risks of direct physical loss unless the
loss is limited or caused by a pen that is
excluded.

PERILS EXCLUDED

1. "We" do not pay for loss or damage caused
directly or indirectly by one or more of the
following excluded causes or events. Such
loss or damage is excluded regardless of
other causes or events that contribute to or
aggravate the loss, whether such causes or
events act to produce the Joss before, at the
same time as, or after the excluded causes
or events.

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a.

Ordinance or Law -- Except as provided
under Supplemental Coverages -
Ordinance or Law, "we" do not pay for
loss or increased cost caused by
enforcement of any code, ordinance, or
law regulating the use, construction, or
repair of any building or structure; or
requiring the demolition of any building or
structure including the cost of removing
its debris.

"We" do not pay for loss regardless if the
loss is caused by or results from the:

1) enforcement of any code, ordinance,
or law even if a building or structure
has not been damaged; or

2) increased costs that “you” incur
because of "your" compliance with a
code, ordinance, or law during the
construction, repair, rehabilitation,
remodeling, or razing of a building or
structure, including the removal of
debris, following a direct physical
loss to the property.

Earth Movement -- "We" do not pay for
loss caused by any earth movement
(other than "sinkhole collapse") or
caused by eruption, explosion, or
effusion of a volcano. Earth movement
includes, but is not limited to:
earthquake; landslide; mudflow;
mudslide: mine subsidence; or sinking,
rising, or shifting of earth.

"We" do cover direct loss by fire,
explosion, or "volcanic action" resulting
from either earth movement or eruption,
explosion, or effusion of a volcano.

This exclusion does not apply to
"computers", "mobile equipment”, and
the Supplemental Marine Coverages.

Civil Authority — "We" do not pay for
loss caused by order of any civil
authority, including seizure, confiscation,
destruction, or quarantine of property.

"We" do cover loss resulting from acts of
destruction by the civil authority to
prevent the spread of fire, unless the fire
is caused by a peril excluded under this
coverage.

Nuclear Hazard -- "We" do not pay for
loss caused by or resulting from a
nuclear reaction, nuclear radiation, or
radioactive contamination (whether
controlled or uncontrolled; whether
caused by natural, accidental, or artificial
means). Loss caused by nuclear hazard
is not considered loss caused by fire,
explosion, or smoke. Direct loss by fire
resulting from the nuclear hazard is
covered,

War and Military Action — "We" do not’
pay for loss caused by:

1) war, including undeclared war or civil
war; or

2) awarlike action by a military force,
including action taken to prevent or
defend against an actual or expected
attack, by any government,
sovereign, or other authority using
military personnel or other agents; or

3) insurrection, rebellion, revolution, or
unlawful seizure of power including
action taken by governmental
authority to prevent or defend
against any of these.

With regard to any action that comes
within the "terms” of this exclusion and
involves nuclear reaction, nuclear
radiation, or radioactive contamination,
this War and Military Action Exclusion
will apply in place of the Nuclear Hazard
Exclusion.

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f. Flood -- "We" do not pay for loss caused This exclusion does not apply to
by “flood”. However, "we" do cover the “computers”, "mobile equipment", and
resulting loss if fire, explosion, or the Supplemental Marine Coverages.
sprinkler leakage results.
"We" do not pay for loss or damage that is
This exclusion does not apply to caused by or results from one or more of the
“computers”, "mobile equipment", and following excluded causes or events:
the Supplemental Marine Coverages.
. a. Animal Nesting, Infestation, or
g. Utility Failure -- Except as provided Discharge -- "We" do not pay for loss
under Coverage Extensions - Off caused by nesting, infestation,
Premises Utility Service Interruption, discharge, or release of waste products
“we” do not pay for loss caused by or or secretions by animals, including but
resulting from the failure of a utility to not limited to, birds, insects, or vermin.
supply electrical power or other utility
service to a “covered location", however But if nesting, infestation, discharge, or
caused, if the failure takes place away release of waste products or secretions
from the "covered location”. by animals results in a "specified peril" or
. breakage of building glass, "we" cover
But if failure of a utility to supply electrical the loss or damage caused by that
or other utility service to a “covered "specified peril" or breakage of building
location" results in a covered peril, "we" glass.
cover the loss or damage caused by that
covered peril, b. Collapse — "We" do not pay for loss
caused by collapse, except as provided
This exclusion does not apply to under the Other Coverages, Collapse.
"computers", "mobile equipment”, and But if collapse results in a covered peril,
. the Supplemental Marine Coverages. “we" cover the loss or damage caused
by that covered peril.
h. Sewer Backup and Water Below the

Surface -- Except as provided under
Supplemental Coverages - Sewer
Backup and Water Below the Surface,
"we" do not pay for loss caused by or
resulting from:

1) water that backs up through a sewer
or drain; or

2) water below the surface of the
ground, including but not limited to
water that exerts pressure on or
flows, seeps, or leaks through or into
a covered building or structure,
sidewalk, driveway, foundation,
swimming pool, or other structure.

But if sewer backup and water below the
surface results in fire, explosion, or
sprinkler leakage, "we" cover the loss or
damage caused by that fire, explosion, or
sprinkler leakage.

_ This exclusion does not apply to

“computers”, "mobile equipment", and
the Supplemental Marine Coverages.

c, Computer Virus or Computer Hacking
-- Except as provided under
Supplemental Marine Coverages - Virus
and Hacking Coverage, "we" do not pay
for:

1) any direct or indirect loss or damage;
or

2) loss of access, loss of use, or loss of
functionality

caused by a “computer virus” or by
“computer hacking".

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d. Contamination or Deterioration - "We"
do not pay for loss caused by
contamination or deterioration including
corrosion, decay, fungus, mildew, mold,
rot, rust, or any quality, fault, or
weakness in covered property that
causes it to damage or destroy itself.

But if contamination or deterioration
results in a "specified peril" or breakage
of building glass, “we” cover the loss or
damage caused by that "specified peri"
or breakage of building glass.

This exclusion does not apply to loss
caused by corrosion, decay, fungus,
mildew, mold, rot, or rust to "computers"
that results from direct physical damage
by a covered peril to the air conditioning
system that services "your" "computers".

e. Criminal, Fraudulent, Dishonest, or
Illegal Acts -- "We" do not pay for loss
caused by or resulting from criminal,
fraudulent, dishonest, or illegal acts
committed alone or in collusion with
another by:

1) "you";

2) others who have an interest in the
property,

3) others to whom “you” entrust the
property,

4) "your" partners, officers, directors,
trustees, joint adventurers; or

5) the employees or agents of 1), 2), 3),
or 4) above, whether or not they are
at work.

This exclusion does not apply to acts of
destruction by "your" employees, but
“we" do not pay for "theft" by employees.

This exclusion does not apply to covered
property in the custody of a carrier for
hire.

Defects, Errors, and Omissions -- "We"
do not pay for loss which results from
one or more of the following:

1) an act, error, or omission (negligent
or not) relating to:

a) land use;

b) the design, specification,
construction, workmanship,
installation, or maintenance of
property;

c) planning, zoning, development,
siting, surveying, grading, or
compaction; or

d) maintenance of property (such
as land, structures, or
improvements);

whether on or off a “covered
location’;

2) a defect, weakness, inadequacy,
fault, or unsoundness in materials
used in construction or repair,
whether on or off a “covered
location";

3) the cost to make good an error in
design; or

4) adata processing error or omission
in programming or giving improper
instructions.

In addition, "we" do not pay for loss to
business personal property caused by
deficiencies or defects in design,
specifications, materials, or
workmanship, or caused by latent or
inherent defects.

But if a defect, error, or omission as

described above results in a covered
peril, "we" cover the loss or damage
caused by that covered peril.

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g.

Electrical Currents — "We" do not pay
for loss caused by arcing or by electrical
currents other than lightning. But if arcing
or electrical currents other than lightning
result in fire, "we" cover the loss or

damage caused by that fire.

"We" do cover the direct loss by a
covered peril which occurs at "covered
locations" as a result of any power
interruption or other utility services.

This exclusion does not apply to
“computers”.

Steam Boiler Explosion — "We" do not
pay for loss caused by an explosion of
steam boilers, steam pipes, steam
turbines, or steam engines that "you"
own or lease or that are operated under
"your" control.

But if an explosion of steam boilers,
steam pipes, steam turbines, or steam
engines results in a fire or combustion
explosion, "we" cover the loss or damage
caused by that fire or combustion
explosion. "We" also cover loss or
damage caused by or resulting from the
explosion of gas or fuel in a firebox,
combustion chamber, or flue.

Increased Hazard — "We’ do not pay for
loss occurring while the hazard has been
materially increased by any means within
"your" knowledge or "your" control.

Loss of Use — "We" do not pay for loss
caused by loss of use, delay, or loss of
market.

Mechanical Breakdown -- "We" do not
pay for loss caused by mechanical
breakdown or rupturing or bursting of
moving parts of machinery caused by
centrifugal force.

But if a mechanical breakdown or
rupturing or bursting of moving parts of
machinery caused by centrifugal force
results in a “specified peril", the
breakage of building glass, or an elevator
collision, "we" cover the loss or damage
caused by that "specified peril”,

breakage of building glass, or elevator
collision.

This exclusion does not apply to
"computers".

Neglect -- "We" do not pay for loss
caused by “your” neglect to use all
reasonable means to save covered
property at and after the time of loss.

"We" do not pay for loss caused by
“your” neglect to use all reasonable
means to save and preserve covered
property when endangered by a covered
peril.

. Pollutants -- "We" do not pay for loss

caused by or resulting from release,
discharge, seepage, migration, dispersal,
or escape of "pollutants":

1) unless the release, discharge,
seepage, migration, dispersal, or
escape is caused by a "specified
peril" or

2) except as specifically provided under
the Supplemental Coverages,
Pollutant Cleanup and Removal.

"We" do pay for any resulting loss
caused by a "specified peril’.

Seepage — "We" do not pay for loss
caused by continuous or repeated
seepage or leakage of water or steam
that occurs over a period of 14 days or
more.

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o. Settling, Cracking, Shrinking, Bulging, "We" do pay for loss to “computers” that

or Expanding -- "We" do not pay for loss
caused by settling, cracking, shrinking,
bulging, or expanding of pavements,
footings, foundations, walls, ceilings, or
roofs. But if settling, cracking, shrinking,
bulging, or expanding results ina
“specified peril" or the breakage of
building glass, “we" cover the loss or
damage caused by that "specified peril"
or the breakage of building glass.

This exclusion does not apply to
“computers” and "mobile equipment".

Smoke, Vapor, or Gas -- "We" do not
pay for loss caused by smoke, vapor, or
gas from agricultural smudging or
industrial operations.

This exclusion does not apply to
“computers" and "mobile equipment’.

Smog -- "We" do not pay for loss caused
by smog . But if smog results in a
"specified peril" or the breakage of
building glass, “we" cover the loss or
damage caused by that "specified peril"
or the breakage of building glass.

This exclusion does not apply to
"computers" and "mobile equipment”.

Temperature/Humidity — "We" do not
pay for loss to:

1) personal property, except as
provided under Coverage Extensions
- Off Premises Utility Service
Interruption; or

2) “perishable stock";

caused by dryness, dampness, humidity,
or changes in or extremes of
temperature. .

But if dryness, dampness, humidity, or
changes in or extremes of temperature,
as described above, results in a
“specified peril" or the breakage of
building glass, “we" cover the loss or
damage caused by that "specified peril”
or the breakage of building glass.

results from direct physical damage by a
covered peril to the air conditioning
system that services "your" "computers".

s. Wear and Tear -- "We" do not pay for
loss caused by wear and tear, marring,
or scratching.

But if wear and tear, marring, or
scratching results in a “specified peril" or
the breakage of building glass, "we"
cover the loss or damage caused by that
“specified peril" or the breakage of
building glass.

t. Weather -- "We" do not pay for loss
caused by weather conditions if the
weather conditions contribute in any way
with a cause or event excluded in
paragraph 1. above to produce the loss
or damage.

But if weather conditions result in a
covered peril, "we" cover the loss or
damage caused by that covered peril.

u. Voluntary Parting -- Except as provided
under Coverage Extensions - Fraud and
Deceit, "we" do not pay for loss caused
by or resulting from voluntary parting with
title to or possession of any property
because of any fraudulent scheme, trick,
or false preterise.

ADDITIONAL PROPERTY NOT
COVERED OR SUBJECT TO
LIMITATIONS

4. Accounts Receivable -- "We" do not cover
loss to accounts receivables that is a result
of:

a. an error or omission in bookkeeping,
accounting, or billing; or

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b. "your" discovery of a discrepancy in
"your" books or records if an audit or
inventory computation is necessary to
prove the factual existence of the
discrepancy.

2. Animals -- "We" do not cover loss to
animals, including but not limited to birds and
fish, except death or destruction of animals
held for sale caused by "specified perils" or
breakage of building glass.

3. Boilers — "We" do not cover loss to steam
boilers, steam pipes, steam turbines, or
steam engines caused by any condition or
occurrence within such equipment. "We" do
cover loss to such equipment caused by the
explosion of gas or fuel in a firebox,
combustion chamber, or flue.

"We" do not cover loss to hot water boilers or
heaters caused by any condition or
occurrence within such equipment other than
explosion. This exclusion includes bursting,
cracking, or rupturing.

4. Contamination of Perishable Stock Due to
Release of Refrigerant -- "We" do not pay
for loss of "perishable stock” due to
contamination from the release of a
refrigerant, including but not limited to
ammonia.

5. Furs -- "We" do not cover furs or fur
garments for loss by "theft" for more than
$10,000 total in any one occurrence.

6. Glassware/Fragile Articles — "We" do not
cover breakage of fragile articles such as
glassware and porcelains, except as a result
of "specified perils" or breakage of building
glass.

This exclusion does not apply to:

a, glass that is a part of a building or
structure;

b, bottles or other containers held for sale;

c. lenses of photographic and scientific
instruments; or

10.

11.

d. "fine arts" as described under
Supplemental Marine Coverages. ~

Jewelry, Watches, and Precious Stones --
"We" do not cover more than $10,000 total in
any one occurrence for loss by "theft" of
jewelry, watches, and precious stones,
including but not limited to watch
movements, jewels, pearls, and semi-
precious stones. This limitation does not
apply to items of jewelry, watches, or
precious stones worth $100 or less.

Missing Property — "We" do not cover
missing property when the only proof of loss
is unexplained or mysterious disappearance,

or shortage discovered on taking inventory,

or other instance where there is no physical
evidence to show what happened to the
property.

This exclusion does not apply to property in
the custody of carriers for hire.

Personal Property in the Open — "We" do
not cover loss to personal property in the
open caused by rain, snow, ice, or sleet.

This exclusion does not apply to "mobile
equipment" or to property in the custody of
carriers for hire.

Stamps, Tickets, and/or Letters of Credit
— "We" do not cover more than $5,000 total
in any one occurrence for loss by "theft" to
stamps, tickets (such as lottery tickets held
for sale), or letters of credit.

Unauthorized or Fraudulent Transfer —
Except as provided under Coverage
Extensions - Fraud and Deceit, "we" do not
cover loss of, or loss caused by the transfer
or delivery of covered property from a
"covered location" or "your" "computer" to a
person or place outside of a "covered
location" on the basis of unauthorized or
fraudulent instructions, including but not
limited to instructions transmitted:

a. by acomputer, whether or not owned by
"you", or

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b. via any telecommunications transmission b. The following property is covered for loss

method.

12. Valuable Papers - "We" do not cover loss to

"valuable papers" caused by errors or
omissions in processing or copying.

OTHER COVERAGES

Collapse -- "We" pay for loss caused by
direct physical loss involving collapse as
described in a., b., and c. below.

a. Collapse of a building or structure, any
part of a building or structure, or personal
property inside a building or structure, if
the collapse is caused by one or more of
the following:

1) “specified perils" or breakage of
building glass all only as insured
against in this Coverage Part;

2) hidden decay, unless "you" know of
the presence of the decay prior to
the collapse;

3) hidden insect or vermin damage,
unless "you" know of the damage
prior to the collapse;

4) weight of people or personal
property,

5) weight of rain that collects on a roof;
or

6) use of defective material or methods
in construction, remodeling, or
renovation if the collapse occurs
during the course of the construction,
remodeling, or renovation.

However, if the collapse occurs after
construction, remodeling, or
renovation is complete and is caused
in part by a peril listed in 1) through
5) above, "we" will pay for the loss or
damage even if the use of defective
material or methods in construction,
remodeling, or renovation,
contributes to the collapse.

involving collapse only if the collapse is
of a building or structure or any part of a
building or structure and is caused by
one or more of the causes listed above in
1.a. or collapse caused by "specified
perils" or breakage of building glass all
only as insured against in this Coverage
Part:

41) outdoor radio or television antennas
(and satellite dishes) and their lead-
in wiring, masts, or towers;

2) awnings, gutters, and down spouts;

3) yard fixtures;

4) outdoor swimming pools;

5) fences;

6) bulkheads, piers, wharves, and
docks;

7) beach or diving platforms or
appurtenances;

8) retaining walls that are not part of
buildings; and

9) bridges, walkways, roadways, and
other paved surfaces.

Collapse means a sudden and
unexpected falling in or caving in of a
building or structure or any portion of a
building or structure with the result that
the building or portion of the building
cannot be occupied for its intended
purpose.

The following are not consideted to be in
a state of collapse:

1) a building or structure that is
standing or any portion of a building
that is standing even if it displays
evidence of bending, bulging,
cracking, expansion, leaning,
sagging, settling, or shrinkage;

2) a building or structure or any portion
of a building structure in danger of
falling in or caving; and

3) apportion of a building or structure
that is standing even if it has
separated from another portion of the
building or structure.

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2. Tearing Out and Replacing -- When "we

cover buildings or structures and a loss
caused by water, other liquids, powder, or
molten material is covered, "we" also pay the
cost of tearing out and replacing any part of
the covered building or structure to repair
damage to the system or appliance from
which the water or other substance escapes.

"We also pay the cost to repair or replace
damaged parts of fire extinguishing
equipment if the damage results in discharge
of any substance from an automatic fire
protection system; or is directly caused by
freezing.

WHAT MUST BE DONE
IN CASE OF LOSS

1.

Notice -- [In case of a loss, "you" must:

a. give "us" or "our" agent prompt notice
including a description of the property
involved ("we" may request written
notice);

b. give notice to the police when the act
that causes the loss is a crime; and

c. give notice to the credit card company if
the loss involves a credit card.

2. Protect Property -- "You" must take all

reasonable steps to protect covered property
at and after an insured loss to avoid further
loss. "We" will pay the reasonable costs
incurred by “you” for necessary repairs or
emergency measures performed solely to
protect covered property from further
damage by a peril insured against if a peril
insured against has already caused a loss to
covered property. "You" must keep an
accurate record of such costs. However "we"
will not pay for such repairs or emergency
measures performed on property which has

not been damaged by a peril insured against.

This does not increase "our" "limit".

Proof of Loss — "You" must send "us
within 60 days after "our’ request, a signed,
swom proof of loss. This must include the

- following information:

a. the time, place, and circumstances of the
loss;

b. other policies of insurance that may
cover the loss;

c. "your’ interest and the interests of all
others in the property involved, including
all mortgages and liens;

d. changes in title or occupancy of the
covered property during the policy
period;

e. detailed estimates for repair or
replacement of covered property; and

f. aninventory of damaged and
undamaged covered property showing in
detail the quantity, description, cost,
actual cash value, and amount of the
loss. "You" must attach to the inventory
copies of all bills, receipts, and related
documents that substantiate the
inventory.

Examination -- "You" must submit to
examination under oath in matters connected
with the loss as often as "we" reasonably
request and give “us" sworn statements of
the answers. If more than one person is
examined, "we" have the right to examine
and receive statements separately and not in
the presence of others.

. Records ~ “You" must produce records,
’ including tax returns and bank microfilms of

all canceled checks relating to value, loss,
and expense and permit copies and extracts
to be made of them as often as "we"
reasonably request.

Damaged Property — "You" must exhibit the
damaged and undamaged property as often
as "we" reasonably request and allow "us” to
inspect or take samples of the property.

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7.

Volunteer Payments — "You" must not,
except at "your" own expense, voluntarily
make any payments, assume any
obligations, pay or offer any rewards, or incur
any other expenses except as respects
protecting property from further damage.

Abandonment -- "You" may not abandon the
property to "us" without "our’ written consent.

Cooperation -- "You" must cooperate with
"us" in performing all acts required by the
Commercial Output Program coverages.

VALUATION

Replacement Cost -- The value of covered
property will be based on replacement cost
without any deduction for depreciation unless
Actual Cash Value is indicated on the
"schedule of coverages".

The replacement cost is limited to the cost of
repair or replacement with similar materials
on the same site and used for the same
purpose. The payment will not exceed the
amount "you" spend to repair or replace the
damaged or destroyed property.

Replacement cost valuation does not apply
until the damaged or destroyed property is
repaired or replaced. “You" may make a
claim for actual cash value before repair or
replacement takes place, and later for the
replacement cost if “you" notify "us" of “your”
intent within 180 days after the loss.

This replacement cost provision does not
apply to paragraphs 3. through 13. below.

Actual Cash Value -- When Actual Cash
Value is indicated on the "schedule of
coverages" for covered property, the value of
covered property will be based on the actual
cash value at the time of the loss (with a
deduction for depreciation) except as
provided in paragraphs 3. through 13. below.

Fine Arts — The value of "fine arts" will be
based on the fair market value at the time of
loss.

Glass - The value of glass will be based on
the cost of safety glazing material where
required by code, ordinance, or law.

Hardware — The following is the value of
“hardware”:

a, Hardware That Is Replaced -- The
value of "hardware" that is replaced will
be based on the cost of replacing the
"hardware" with new equipment that is
functionally comparable to the
"hardware" that is being replaced.

b. Hardware That is Not Replaced -- The
value of “hardware” that is not repaired ©
or replaced will be based on the actual
cash value at the time of loss (with a
deduction for depreciation).

c. Partial Loss -- In no event will "we" pay
more than the reasonable cost of
restoring partially damaged “hardware”
to its condition directly prior to the
damage.

Software — The following is the value of
“software”:

a. Programs and Applications -- The
value of "programs and applications" will
be based on the cost to reinstall the
“programs or applications" from the
licensed discs that were originally used
to install the programs or applications.

{f the original licensed discs are lost,
damaged, or can no longer be obtained,
the value of "programs and applications”
will be based on the cost of the most
current version of the "programs or
applications".

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b. Proprietary Programs — The value of
“proprietary programs" will be based on
the cost of reproduction from duplicate
copies. The cost of reproduction
includes, but is not limited to, the cost of
labor to copy or transcribe from duplicate
copies.

If duplicate copies do not exist, the value
of "proprietary programs" will be based
on the cost of research or other
expenses necessary to reproduce,
replace, or restore lost “proprietary
programs".

c. Data Records - The value of "data
records" will be based on the cost of
reproduction from duplicate copies. The
cost of reproduction includes, but is not
limited to, the cost of labor to copy or
transcribe from duplicate copies.

If duplicate copies do not exist, the value
of “data records” will be based on the
cost of research or other expenses
necessary to reproduce, replace, or
restore lost files, documents, and
records,

d. Media -- The value of "media’” will be
based on the cost to repair or replace the
“media” with material of the same kind or

" quality.

7. Merchandise Sold — The value of
merchandise that "you" have sold but not
delivered will be based on the selling price
less all discounts and unincurred expenses.

8. Manufactured Stock -- The value of stock
manufactured by "you" will be based on the
price that such stock would have been sold
for, less all discounts and unincurred
expenses.

9, Pair or Set - The value of a lost or damaged
article which is part of a pair or set is based
on a reasonable proportion of the value of
the entire pair or set. The loss is not
considered a total loss of the pair or set.

10. Loss to Parts -- The value of a lost or
damaged part of an item that consists of
several parts when it is complete is based on
the value of only the lost or damaged part or
the cost to repair or replace it.

11, Tenant's Improvements — The value of lost
or damaged tenant's improvements and the
loss of undamaged tenant's improvements
due to the cancellation of a lease will be
based on the replacement cost if repaired or
replaced at "your" expense within 24 months.

The value of lost or damaged tenant's
improvements and the loss of undamaged
tenant's improvements due to the
cancellation of a lease will be based ona
portion of “your’ original cost if not repaired
or replaced within 24 months. This portion is
determined as follows:

a. divide the number of days from the date
of the loss to the expiration date of the
lease by the number of days from the
date of installation to the expiration date
of the lease; and

b. multiply the figure determined in 11.a.
above by the original cost.

If "your" jease contains a renewal option, the
expiration of the lease in this procedure will
be replaced by the expiration of the renewal
option period.

Lost or damaged tenant's improvements and
the loss of undamaged tenant's
improvements due to the cancellation of a
lease are not covered if repaired or replaced
at another's expense.

12. Valuable Papers -- The value of "valuable
papers" will be based on their actual cash
value at the time of loss.

13, Accounts Receivable -- The value of
accounts receivable will be based on the
total sum of accounts receivable due. From
this total “we" will deduct:

a. all amounts due from the records of
accounts receivable that are not lost;

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b. all amounts due that can be established
by other means;

c. ail amounts due that "you” have collected
from the records that are lost;

d. all unearned interest and service
charges; and

e. an amount to allow for bad debts.

If a loss occurs and “you" cannot establish
the actual accounts receivable due, it will be
determined as follows:

a. "We" will determine the total of the
average monthly accounts receivable
amounts for the 12 month period that
directly precedes the month in which the
Joss occurred.

b. "We" will adjust the total for any normal
variance in the accounts receivable
amount for the month in which the loss

Loss Settlement Terms -- Subject to
paragraphs 1., 2., 3., 5.,6., and 7. under
How Much We Pay and coinsurance
provisions (if applicable), "we" pay the lesser
of.

a. the amount determined under Valuation;

b. the cost to repair, replace, or rebuild the
property with material of like kind and
quality to the extent practicable; or

c. the “limit" that applies to covered
_ property.

Insurance Under More Than One
Coverage ~ If more than one coverage of
this policy insures the same loss, "we" pay
no more than the actual claim, loss, or
damage sustained.

Insurance Under More Than One Policy —
"You" may have another policy subject to the
same plan, "terms”, conditions, and

occurred. provisiorts as this policy. If "you" do, "we’ will
pay "our" share of the covered loss, "Our"
share is the proportion that the applicable
"limit" under this policy bears to the "limit" of
HOW MUCH WE PAY all policies covering on the same basis.

1.

If there is another policy covering the same
loss, other than that described above, "we"

Insurable Interest -- ‘We"' do not cover more will pay only for the amount of covered loss
than "your" insurable interest in any property. in excess of the amount due from that other
2, Deductible -- "We" pay only that part of policy, whether "you" can collect on it or not.
"your" loss over the deductible amount stated But ne ee pay more than the
on the "schedule of coverages" in any one applicable "limit".
occurrence, The deductible applies to the . igi
loss before application of any coinsurance or Automatic Increase -- The ‘limit’ on the
reporting provisions. schedule of coverages or the Scheduled
Locations Endorsement is automatically
3. Earthquake Period — All earthquakes or increased annually by the annual percentage

volcanic eruptions that occur within a 168-
hour period will be considered a single event.
This 168-hour period is not limited by the
policy expiration.

shown on the "schedule of coverages” or
Scheduled Locations Endorsement for
Automatic Increase.

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LOSS PAYMENT

OTHER CONDITIONS

1. Our Options — In the event of loss covered
by this coverage form, "we" have the
following options:

a. pay the value of the lost or damaged
property:

b. pay the cost of repairing or replacing the
lost or damaged property;

c. rebuild, repair, or replace the property
with other property of equivalent kind and
quality, to the extent practicable, within a
reasonable time; or

d. take all or any part of the property at the
agreed or appraised value.

"We" must give "you" notice of "our" intent to
rebuild, repair, or replace within 30 days after
receipt of a duly executed proof of loss.

2. Your Losses -- "We" will adjust all losses
with "you". Payment will be made to "you"
unless another loss payee is named in the
policy. An insured loss will be payable 30
days after a satisfactory proof of loss is
received, and the amount of the loss has
been established either by written agreement
with "you" or the filing of an appraisal award
with "us".

3. Property of Others — Losses to property of
others may be adjusted with and paid to:

a. “you” on behalf of the owner; or

b. the owner.

If "we" pay the owner, "we" do not have to
pay "you". "We" may also choose to defend

any suits arising from the owners at "our"
experise.

In addition to the "terms" which are contained in
other sections of the Commercial Output
Program coverages, the following conditions

apply.

1.

Appraisal - If "you" and "we" do not agree
on the amount of the loss or the value of
covered property, either party may demand
that these amounts be determined by
appraisal.

If either makes a written demand for
appraisal, each will select a competent,
independent appraiser and notify the other of
the appraiser's identity within 20 days of
receipt of the written demand. The two
appraisers will then select a competent,
impartial umpire. If the two appraisers are
unable to agree upon an umpire within 15
days, "you" or "we" can ask a judge of a
court of record in the state where the
property is located to select an umpire.

The appraisers will then determine and state
separately the amount of each loss.

The appraisers will also determine the value
of covered property items at the time of the
loss, if requested.

If the appraisers submit a written report of
any agreement to "us", the amount agreed
upon will be the amount of the loss. If the
appraisers fail to agree within a reasonable
time, they will submit only their differences to
the umpire. Written agreement so itemized
and signed by any two of these three sets the
amount of the loss.

Each appraiser will be paid by the party
selecting that appraiser. Other expenses of
the appraisal and the compensation of the
umpire will be paid equally by "you" and "us".

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2. Benefit to Others — Insurance under the
Commercial Output Program coverages will
not directly or indirectly benefit anyone
having custody of "your" property.

3. Conformity With Statute ~ When a
condition of this coverage is in conflict with
an applicable law, that condition is amended
to conform to that law.

4, Control of Property -— The Commercial
Output Policy coverages are not affected by
any act or neglect beyond "your" control.

5. Death — If "you" die, "your" rights and duties
will pass to "your" legal representative but
only while acting within the scope of duties
as "your" legal representative. Until “your’
legal representative is appointed, anyone
having proper temporary custody of "your"
property will have "your" rights and duties but
only with respect to that property.

6. Liberalization - If a revision of a form or
endorsement which broadens Commercial
Output Program coverages without additional
premium is adopted during the policy period,
or within six months before this coverage is
effective, the broadened coverage will apply.

7. Misrepresentation, Concealment, or Fraud
~- These Commercial Output Program
coverages are void as to "you" and any other
insured if, before or after a loss:

a. “you” or any other insured have willfully
concealed or misrepresented:

1) a material fact or circumstance that
relates to this insurance or the
subject thereof; or

2) “your" interest herein; or

b. there has been fraud or false swearing
by "you" or any other insured with regard
to a matter that relates to this insurance -
or the subject thereof.

8. Policy Period -- "We" pay for a covered loss
that occurs during the policy period.

9.

10.

11.

12.

Recoveries -- If "we" pay "you" for the loss
and lost or damaged property is recovered,
or payment is made by those responsible for
the loss, the following provisions apply:

a, "you" must notify "us" promptly if “you"
recover property or receive payment;

b. "we" must notify "you” promptly if “we”
recover property or receive payment;

c. any recovery expenses incurred by either
are reimbursed first;

d. "you" may keep the recovered property,
but "you" must refund to "us" the amount
of the claim paid, or any lesser amount to
which "we" agree; and

e. if the claim paid is less than the agreed
loss due to a deductible or other limiting
"terms" of this policy, any recovery will be
prorated between "you" and “us" based
on “our" respective interest in the loss.

Restoration of Limits -- Except as indicated
under Supplemental Coverages - Pollutant
Cleanup and Removal and Supplemental
Marine Coverages - Virus and Hacking
Coverage, any loss "we" pay under the
Commercial Output Program coverages does
not reduce the "limits" applying to a later
loss.

Subrogation - If "we" pay for a loss, "we"
may require "you" to assign to “us" "your"
right of recovery against others. "You" must
do all that is necessary to secure "our" rights.
“We" will not pay for a loss if “you” impair this
right to recover.

"You" may waive "your" right to recover from
others in writing before a loss occurs.

Suit Against Us -- No one may bring a legal
action against "us" under this coverage
unless:

a. all of the "terms” of the Commercial
Output Program coverages have been
complied with; and

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b. the suit has been brought within two
years after "you" first have knowledge of
the loss.

if any applicable law makes this limitation
invalid, then suit must begin within the
shortest period permitted by the law..

13. Territorial Limits -- "We" cover property
while in the United States of America, its
territories and possessions, Canada, and
Puerto Rico.

However, "we" do cover foreign shipments as
described under Overseas Transit.

14, Mortgage Provisions — If a mortgagee
(mortgage holder) is named in this policy,
loss to building property will be paid to the
mortgagee and "you" as their interest
appears. If more than one mortgagee is
named, they will be paid in order of
precedence.

The insurance for the mortgagee continues
in effect even when “your” insurance may be
void because of "your" acts, neglect, or
failure to comply with the coverage "terms".
The insurance for the mortgagee does not
continue in effect if the mortgagee is aware
of changes in ownership or substantial
increase in risk and does not notify "us".

If "we" cancel this policy, "we" will notify the
mortgagee at least ten days before the
effective date of cancellation if "we" cancel
for “your’ nonpayment of premium, or 30
days before the effective date of cancellation
if "we" cancel for any other reason.

"We" may request payment of the premium
from the mortgagee if "you" fail to pay the
premium.

If "we" pay the mortgagee for a loss where
"your" insurance may be void, the
mortgagee's right to collect that portion of the
mortgage debt from "you" then belongs to
“us". This does not affect the mortgagee's
right to collect the remainder of the mortgage
debt from "you".

As an alternative, "we" may pay the
mortgagee the remaining principal and
accrued interest in return for a full
assignment of the mortgagee's interest and
any instruments given as security for the
mortgage debt.

lf “we" choose not to renew this policy, "we"
will give written notice to the mortgagee at
least ten days before the expiration date of
this policy.

. Vacancy - Unoccupancy -- "We" do not pay

for loss caused by attempted "theft";
breakage of building glass; sprinkler leakage
(unless “you" have protected the system
against freezing); "theft"; vandalism; or water
damage occurring while the building or
structure has been:

a. vacant for more than 60 consecutive
days; or

b. unoccupied for more than:

1) 60 consecutive days; or
2) the usual or incidental unoccupancy
period for a "covered location";

whichever is longer.

The amount "we" will pay will be reduced by
15% for any loss by a covered peril, not
otherwise excluded above, if the building or
structure is vacant or unoccupied, as
described above.

Unoccupied means that the customary
activities or operations at a "covered
location" are suspended, but business
personal property has not been removed.
The building or structure will be considered
vacant and not unoccupied when the
occupants have moved, leaving the building
or structure empty or containing only limited
business personal property. Buildings or
structures under construction are not
considered vacant or unoccupied.

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SCHEDULED LOCATIONS ENDORSEMENT

PROPERTY COVERED

The following provision is added to Property
Covered.

Scheduled Locations -- Coverage provided by
the Commercial Output Program coverages
applies only to the "covered locations" described
on the Location Schedule.

ADDITIONAL COVERAGES

The following Additional Coverages indicate an
applicable "limit". This “limit” may also be shown
on the "schedule of coverages”. If a different
“limit” is indicated on the "schedule of
coverages", that “limit” will apply instead of the
"limit" shown below.

However, if no "limit" is indicated for an Additional
Coverage, coverage is provided up to the full
"limit" for the applicable covered property unless
a different "limit" is indicated on the "schedule of
coverages”.

Unless otherwise indicated, a "limit" for an
Additional Coverage provided below is separate
from, and not part of, the applicable “limit” for
coverage described under Property Covered.
The "limit" available for coverage described
under an Additional Coverage:

a. is the only "limit" available for the
described coverage; and

b. Is not the sum of the “limit” indicated for
an Additional Coverage and the "limit" for
coverage described under Property
Covered.

Unless otherwise stated, each additional
coverage:

a. applies to loss caused by a covered peril;

b, is not subject to and not considered in
applying coinsurance when coinsurance
conditions are added to this coverage;
and

c. does not extend coverage to personal
property at fairs or exhibitions.

Newly Built or Acquired Buildings -- "We"
cover direct physical lass to "your" buildings
or structures:

a. being built at “covered locations" or while
being built at other than “covered
locations”; or

b. that “you" acquire during the policy
period.

This additional coverage applies for 120 days
from the date "you" acquire or begin to
construct the building or structure or until
"you" report the property to "us", whichever
occurs first. This coverage does not go
beyond the end of the policy period.

“You" must pay any additional premium due
from the date construction is started or from
the date "you" acquire the property.

The most "we" pay in any one occurrence for
each newly built or acquired building or
structure is $500,000.

Business Personal Property - Acquired
Locations — "We" cover direct physical loss
to "your" business personal property at
locations that "you" acquire during the policy
period.

This coverage applies for 120 days from the
date "you" acquire the location or until "you"
report the acquired location to "us",
whichever occurs first. This coverage does
not go beyond the end of the policy period.

"You" must pay any additional premium due
from the date “you" acquire the location.

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The most "we" pay in any one occurrence for
business personal property at each location
"you" acquire is $250,000.

3. Locations "You" Elect Not To Describe —
"We" cover direct physical loss to "your"
building property and business personal
property at locations that are not described
on the Location Schedule.

The “limit” provided under this additional
coverage cannot be combined or added to
the "limits" for Newly Acquired Buildings and
Personal Property - Acquired Locations.

The most "we" pay in any one occurrence for
each unscheduled focation is $50,000.

4. Newly Built or Acquired Locations -
Income Coverage — If the Commercial
Output Program - Income Coverage Part is
attached to this policy, "we" extend “your’
coverage for earnings and extra expense to
include direct physical loss to "your" covered
property while at any location being built or at
locations that "you" acquire during the policy
period.

If a loss occurs at a location being built and
the loss delays the start of "your" "business",
the "restoration period" starts from the time
“your "business" would have begun had no
loss occurred.

This coverage applies for 120 days from the
date the location is acquired or construction
begins or until "you" report the location to
"us", whichever occurs first. This coverage
does not go beyond the end of the policy
period,

"You" must pay any additional premium due
from the date construction is started or "you"
acquire the location.

The most "we" pay in any one occurrence for
loss of earnings and incurred extra expense
at each newly acquired or built location is
$250,000.

HOW MUCH WE PAY

The following provisions are added to How Much
We Pay if a coinsurance percentage is indicated
on the "schedule of coverages".

1.

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Coinsurance, Property Coverage Part ~
“We" pay only a part of the Joss if the "limit" is
less than the value of the covered property at
the time of the loss multiplied by the
coinsurance percentage. “Our” part of the
loss is determined using the following steps:

a. multiply the value of the covered property
at the time of the loss by the coinsurance
percentage;

b. divide the “limit” for covered property by
the result determined in a. above;

c. multiply the total amount of loss, after the
application of any deductible, by the
result determined in b. above.

"We" pay the amount determined in c. above
or the "limit", whichever is less. "We" do not
pay any remaining part of the loss.

If there is more than one "limit" indicated on
the “schedule of coverage”, this procedure
applies separately to each covered property
for which a "limit" is shown.

If there is only one "limit" indicated on the
"schedule of coverage”, this procedure
applies to the total of all covered property to
which the "limit" applies.

Coinsurance, Income Coverage Part — If
the Commercial Output Program - Income
Coverage Part is attached to this policy, "we"
pay only a part of the loss if the "limit" is less
than the coinsurance percentage multiplied
by the sum of "your" net income (net profit or
loss before income taxes) and continuing
operating expenses projected for the 12
months following the inception of this policy
or the last previous anniversary date of this
policy (whichever is later), normaily earned by:
“your” “business”.

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"Our" part of the loss is determined using the "We" pay the amount determined in c. above
following steps: or the "limit", whichever is fess. “We" do not

pay any remaining part of the loss.
a. multiply the coinsurance percentage by

the sum of "your" net income and If there is more than one "limit" indicated on
continuing operating expenses projected the "schedule of coverage” for the Income
for the 12 months following the inception Coverage Part, this procedure applies

of this policy or the last previous separately to each "limit".

anniversary date of this policy;
Coinsurance does not apply to coverage for

b. divide the "limit" by the figure determined extra expense.
in a. above;
c. multiply the total amount of loss by the CO 1227 05 02
figure determined in b. above. / Copyright, American Association of Insurance Services, 2002

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LIMITED FUNGUS AND RELATED PERILS COVERAGE

This policy is amended to include the following But if “fungus or related perils” results in
“terms”. All other "terms of the policy apply, a “specified peril”, we cover loss or
except as amended by this endorsement. damage caused by that "specified peril".

b. This exclusion does not apply to:

DEFINITIONS 1) loss that results from fire or lightning;
or

2) collapse caused by hidden decay, to
the extent that such loss is covered
under Other Coverages, Collapse.

The following definition is added:

Fungus or related perils" means. 2. Under Perils Excluded, the exclusion for

Contamination Or Deterioration and Seepage

a. a fungus, including but not limited to mildew are deleted and replaced by the following:

and mold:

a. Contamination Or Deterioration —
"We" do not pay for loss caused by
contamination or deterioration including
corrosion, decay, rust, or any quality,
fault, or weakness in covered property
that causes it to damage or destroy itself.

b. a protist, including but not limited to algae
and slime mold;

c. wet rot;

d. dry rot;

But if contamination or deterioration
results in a "specified peril" or breakage
of building glass, "we" cover the loss or
damage caused by that “specified peril"
or breakage of building glass.

e, abacterium; or

f. achemical, matter, or compound produced
or released by a fungus, a protist, wet rot, dry
rot, or a bacterium, including but not limited
to toxins, spores, fragments, and metabolites

such as microbial volatile organic This exclusion does not apply to loss

caused by corrosion, decay, or rust to

compounds. “computers” that results from direct
physical damage by a covered peril to
the air conditioning system that services
PERILS EXCLUDED your "computers".
b. Seepage — "We' do not pay for loss
caused by continuous or repeated
1. The following exclusion is added under Perils seepage or leakage of water or steam or
Excluded, item 1: the presence of moisture, humidity, or
vapor that occurs over a period of 14
Fungus or Related Perils — days or more.

a. Except as provided under the Limited
Fungus and Related Perils Property and
Income Coverage in this eridorsement,
“we” do not pay for loss, cost, or expense
caused by or relating to the existence of
or any activity of "furigus or related
perils".

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COVERAGE EXTENSIONS

The following coverage is added to Coverage
Extensions:

Limited Fungus And Related Perils
Property Coverage --

1. Coverage ~ "We" pay for direct physical loss
to covered property caused by or relating to
the existence of or any activity of “fungus or
related perils".

2. Coverage Limitation — "We" only cover loss
caused by "fungus or related perils":

a. when the "fungus or related peril" is the
result of:

1) a"specified peril" other than fire or
lightning; or

2) “flood” (if the Flood Endorsement
applies to the affected location);

that occurs during the policy period; and

b. if all reasonable steps were taken to
protect the property from additional
damage at and after the time of the
occurrence.

3. Blanket Limit -- If Blanket Limit is indicated
on the Limited Fungus and Related Perils
Schedule, the most "we" pay for all losses at
all "covered locations" is $15,000, unless
another "limit" is indicated on the schedule.
The Blanket Limit applies regardless of the
number of claims made.

The Blanket Limit applies regardless of the
number of jocations or buildings insured
under this policy.

The Blanket Limit is the most that "we" pay
for the total of all loss or damage arising out
of all occurrences of "specified perils", other
than fire or lightning, or "flood" (if applicable)
during each separate 12-month period
beginning with the inception date of this

policy.

4. Location Limit -- lf Location Limit is
indicated on the Limited Fungus and Related
Perils Schedule, the most "we" pay for all
losses at each location described on the
Limited Fungus and Related Perils Schedule
is $15,000, unless another "limit" is indicated
on the schedule. The Location Limit applies
regardless of the number of claims made at a
described location.

The Location Limit is the most that "we" pay
at each location for the total of all loss or
damage arising out of all occurrences of
"specified perils" other than fire or lightning or
“flood” (if applicable) during each separate
12-month period beginning with the inception
date of this policy.

5. If The Policy Period Is Extended -- If the
policy period is extended for an additional
period of less than 12 months, this additional
period will be considered part of the
preceding period for the purpose of
determining the Blanket Limit or Location
Limit.

6. Recurrence And Continuation of Fungus

Or Related Perils — The Blanket Limit or
Location Limit is the most that "we" pay with
respect to a specific occurrence of a loss
which results in "fungus or related perils"
even if such "fungus or related perils" recur
or continue to exist during this or any future
policy period.

7. Limit Applies To Other Costs Or
Expenses -- The Blanket Limit or Location
Limit also applies to any cost or expense to:

a, clean up, contain, treat, detoxify, or
neutralize "fungus or related perils” on
covered property or remove “fungus or
related perils" from covered property;

b. remove and replace those parts of
covered property necessary to gain
access to "fungus or related perils"; and

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c. test for the existence or level of "fungus
or related perils" following the repair,
replacement, restoration, or removal of
damaged property if it is reasonable to
believe that "fungus or related perils" are
present.

8, Loss Caused In Total Or In Part By
Fungus Or Related Perils — The "terms" of
this coverage extension do not apply to
covered loss or damage to covered property
that is not caused, in total or in part, by
"fungus or related perils" except to the extent
that “fungus or related perils" causes an
increase in the loss. When "fungus or related
perils" cause an increase in such a loss, that
increase is subject to the “terms” of this
coverage.

INCOME COVERAGE EXTENSIONS

SUPPLEMENTAL COVERAGES

The following provision is added under the
Supplemental Coverages, Ordinance or Law
(Undamaged Parts of a Building) and Ordinance
or Law (Increased Cost to Repair and Cost to
Demolish and Clear Site):

We Do Not Pay -- "We" do not pay for:

1. loss or increased cost caused by the
enforcement of any ordinance, law, or decree
that requires the reconstruction, repair,
replacement, remodeling, remediation, or
razing of property due to the existence of or
any activity of “fungus or related perils”, or

2. costs associated with the enforcement of any
ordinance, law, or decree that requires "you"
or anyone else to test for, monitor, clean up,
remove, contain, treat, detoxify, neutralize, or
in any way respond to or assess the effects
of "fungus or related perils".

Coverage provided under the Income Coverage
Part - Coverage Extensions, if applicable, is
amended by the following provision.

Limited Fungus And Related Perils
Income Coverage --

1. Coverage -- Coverage for eamings and/or
extra expense is extended to loss of earnings
or extra expenses caused by "fungus or
related perils".

2. Coverage Limitation -- "We" only cover loss
of earnings and/or extra expense caused by
“fungus or related perils”:

a. when the "fungus or related peril" is the
result of:

1) a'specified peril" other than fire or
lightning; or

2) "flood" (if the Flood Endorsement
applies to the affected location);

that occurs during the policy period; and

b. if all reasonable steps were taken to
protect the property from additional
damage at and after the time of the
occurrence.

3. Time Limitation --

a. "We" will pay up to 30 days (unless
otherwise indicated on the Limited
Fungus and Related Perils Schedule) for
loss of earnings and/or extra expense if a
loss which resulted in "fungus or related
perils" does not in itself interrupt “your"
"business", but such interruption is
necessary due to the loss or damage to
property caused by "fungus or related
perils”. The days need not be
successive.

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b. Ifa covered "business" interruption was
caused by loss or damage other than
“fungus or related perils” but remediation
of "fungus and related perils" lengthens
the "restoration period", "we" will pay up
to 30 days (unless otherwise indicated on
the Limited Fungus and Related Perils
Schedule) for loss of earings and/or
expense sustained during the delay
(regardless of when such delay for
remediation occurs during the
“restoration period"). The days need not
be successive.

2. Tearing Out and Replacing.

OTHER CONDITIONS

The conditions described under Restoration Of
Limits do not apply to the coverages provided
under this endorsement.

OTHER COVERAGES

The "terms" of the Limited Fungus And Related
Perils Property and Income Coverages do not
increase or decrease the coverages under Other
Coverages:

1. Collapse; or

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LIMITED FUNGUS AND RELATED PERILS SCHEDULE
BLANKET LIMIT

(The information required below may be indicated

on the “schedule of coverages".)

PROPERTY COVERAGE EXTENSION

Limited Fungus And Related Perils
Property Coverage

The most "we" pay for all losses
at all covered locations is:

Limit

$15,000.

INCOME COVERAGE EXTENSION

Limited Fungus And Related Perils
Income Coverage

Time Limitation:

30 days.

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HACP 2006 09 13
HAI Group

Insured Name: One South Place LP
Policy Number: HEICP-205802-163575-2016
Endorsement Effective Date: 09/20/2016

This endorsement changes the policy.
PLEASE READ THIS CAREFULLY

HOUSING PLUS
The following amends the provisions of the damaged by a covered peril, "we" pay the
Commercial Output Program - Property Coverage necessary costs to:
Part.
1) provide new keys;
SUPPLEMENTAL COVERAGES 2) lock adjustment made necessary for new

keys; and
3) replace locks or lock cylinders.

1. In Fire Department Service Charges, the
$25,000 limitation for the amount "we" pay is
deleted. This means that payments under this
coverage are included within full "limit" of the
covered property involved in the fire department's
service call.

The most “we” will pay in any one occurrence
under this Supplemental Coverage is $5,000.

The most “we" pay for all covered losses
under this Supplemental Coverage during
each separate 12-month period of this policy

. is $25,000. We will pro-rate this amount for
2. The following Supplemental Coverages are Policy Periods different than 12 months.

The Deductible applicable to this Coverage

 Housi age
a jousing Additional Property Insurance Extension is $500.

Housing Additional Property Insurance c. Money
"We" pay for direct physical loss of or
damage to Business Personal Property
caused by a covered peril.

1) "We" cover loss caused by "theft",
disappearance, or destruction of
"money", "securities", bullion, and lottery
tickets that "you" own, hold, or for which

The most "we" pay in any one occurrence : :
pay y "you" are legally liable, while:

under this Supplemental Coverage is
$25,000. but not more than $5,000 for
computer laptops, notebooks, handhelds and
similar equipment.

a) inside buildings at "covered
locations" or premises of a bank; or

b) while in transit to "covered locations"
or banks, in the custody of your
authorized employees.

This "limit" is in addition to any other “limit”
for Business Personal Property.

b Key and Lock Replacement - In the event
that your keys or master keys, are lost, or

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The most "we" will pay in any one
occurrence under this Supplemental
Coverages is:

a) $10,000 while inside buildings at
"covered locations" or banks; and

b) $5,000 while in transit to "covered
locations” or banks, in the custody of
your authorized employees.

As respects this Supplemental Coverage,
an occurrence means an act or event or
a series of related acts or events without
regard to the number of persons involved
in causing the loss.

2) “We' cover loss caused by:

a) your acceptance in good faith of:

i) money orders issued by any post
office, express company or bank
that were not paid upon
presentation; and

ii) counterfeit currency, meaning
imitations of actual valid currency
intended to deceive and be taken
for the original.

b) Forgery or alteration of any check, .

draft, promissory note, bill of
exchange or similar promise of
payment in "money" that you issued
or was issued by someone
impersonating you.

The most "we" pay in any one
occurrence under this Supplemental
Coverage is $5.000.

d. Tenant Move Back

In the event of direct physical loss or damage
to property at "covered locations”, that is
caused by or resulting from a covered peril,
and such loss or damage requires that your
tenants move to a temporary location, we will
pay for the following expenses that you incur
to move those tenants back:

(1) Packing, transporting and unpacking of
tenant's property; and

(2) The net cost to reestablish the tenants’
utility and telephone services, after any
refunds due to the tenants;

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but only such expenses that you incur within
60 days of the date that the damaged
premises has been repaired or rebuilt.

The most we will pay under this Coverage
Extension at each "covered location" is
$15,000.

SUPPLEMENTAL INCOME COVERAGES

The following is added to Supplemental Income
Coverages

7. Earnings, “rents”, and extra expense for any
location listed on the Schedule of Locations that does
not carry scheduled business income limits.

The most we will pay for any single location for a
covered loss to business income that is not
specifically scheduled as business income limits on
the Schedule of Locations is 1% of the combined
building and business personal property limit for that
location, or $25,000 (whichever is the lesser). In no
case will we pay more than the amount of the loss
presented.

This Supplemental Coverage is subject to a maximum
limit of 1,000,000 for any one occurrence, regardless
of the number of locations involved in that single
occurrence. This Supplemental Coverage is subject
to an aggregate limit of $1,000,000 which applies to
all losses at all locations during each separate 12
month period of this policy; this is limited to the
expiration date.

Example 1 — Single Locations — no Scheduled Limit
Provided

There is no specific business income coverage
scheduled on the Schedule of Locations for that
insured building. The combined limit for building and
business personal for the insured building is
$1,000,000. The waiting period for this loss is 72
hours. The amount of loss due to covered cause
after the waiting period is $100,000.

Step (1) $1,000,000 x .01 = 10,000

Step (2) Since $10,000 is the lesser, we will pay
$10,000

Example 2 — Single Location — Scheduled Limit
provided

The Business Income limit for the building listed on
the Schedule of Coverages is $100,000. The
combined limit for building and business personal for
the insured building is $1,000,000. The waiting
period for this loss is 72 hours. The amount of loss

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due to covered cause after the waiting period is
$100,000.

We will pay $100,000 since that is the limit insured
less the loss of income during the waiting period.
Example 3 — Multiple Locations —- No Scheduled
Limit provided

The amount of loss due to covered cause is
$100,000 at each of 4 locations. There is no specific
business income coverage scheduled on the
“Schedule of Locations” for any of the insured

buildings. The waiting period for this loss is 72 hours.

The combined limit for building and business
personal for each insured building due to covered
cause after the waiting period is as follows:

Building 1 (combined B & BPP) $50,000,000
Building 1 (combined B & BPP) $25,000,000
Building 1 (combined B & BPP) $20,000,000

Building 1 (combined B & BPP) $20,000,000

Step (1) B1 $50,000,000 x .01= $500,000
B2 $25,000,000 x .01= $ 250,000
B3 $20,000,000 x .01= $200,000
B4 $20,000,000 x .01= $200,000

Step (2) B1 Loss = $25,000
B2 Loss = $25,000
B3 Loss = $25,000
B4 Loss = $25,000
$100,000

$25,000 per location is the lesser of 1% combined
building & business personal property or $25,000 per
location. The total amount for all (4) locations less
the per occurrence deductible is $100,000.

All other terms and conditions under this policy remain the same.

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LOSS PAYABLE OPTIONS

If indicated on the Loss Payable Schedule, the
following conditions apply to the property
described on the schedule. The following
conditions apply in addition to the policy “terms”
which are contained in other sections of the
Commercial Output Program coverages.

LOSS PAYABLE

Any loss will be adjusted with "you" and will be
payable to "you" and the loss payee described on
the schedule as "your" and their interests appear.

LENDER'S LOSS PAYABLE

Any loss will be payable to "you" and the loss
payee described on the schedule as interests
appear. If more than one loss payee is named,
they will be paid in order of precedence.

The insurance for the loss payee continues in
effect even when "your" insurance may be void
because of “your" acts, neglect, or failure to .
comply with the coverage "terms". The insurance
for the loss payee does not continue in effect if
the loss payee is aware of changes in ownership
or substantial increase in risk and does not notify
"us",

If "we" cancel this policy, “we" notify the loss
payee at least ten days before the effective date
of cancellation if "we" cancel for "your"
nonpayment of premium, or 30 days before the
effective date of cancellation if "we" cancel for
any other reason.

"We" may request payment of the premium from
the loss payee, if "you" fail to pay the premium.

If we" pay the loss payee for a loss where "your"
insurance may be void, the loss payee's right to
collect that portion of the debt from "you" then
belongs to "us". This does not affect the loss
payee's right to collect the remainder of the debt
from "you". As an alternative, "we" may pay the
loss payee the remaining principal and accrued
interest in return for a full assignment of the loss
payee's interest and any instruments given as
security for the debt.

If "we" choose not to renew this policy, "we" give
written notice to the loss payee at least fen days
before the expiration date of this policy.

CONTRACT OF SALE

Any loss will be adjusted with "you" and will be
payable to "you" and the loss payee described on
the schedule as "your" and their interests appear.

The loss payee shown on the schedule is a
person or organization "you" have entered into a
contract with for the sale of covered property.

When covered property is the subject of a
contract of sale, the word "you" also means the
loss payee.

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LOSS PAYABLE SCHEDULE

(The entries required to complete this endorsement
will be shown below or on the "schedule of coverages".)

Indicate applicable provision:
x) Loss Payable
[] Lender's Loss Payable

[) Contract of Sale

SCHEDULE
’ Covered Name and Address
Location Property of Loss Payee
1311 Bertie Rand St Wells Fargo Bank, N.A. as Master Servicer D1118-02W
1525 West WT Harris Blvd.

Charlotte, NC 28262

Schedule Continued On Next Page

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This endorsement changes the
Commercial

AAIS Property Coverages provided by this policy. CO 1072 04 02
-- PLEASE READ THIS CAREFULLY --
Designated Interests
1311 Bertie Rand St, Knoxville, TN 37920
1311 Bertie Rand St, Knoxville, TN 37920
212285
CO 1072 04 02 Page 2 of 2

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CO 1072 04 02

LOSS PAYABLE SCHEDULE

(The entries required to compiete this endorsement
will be shown below or on the "schedule of coverages".)

Indicate applicable provision:
fx] Loss Payable
[] Lender's Loss Payable

[] Contract of Sale

SCHEDULE
Covered Name and Address
Location Property of Loss Payee
1311 Bertie Rand St Assistant Secretary for Housing Federal Housing
: 451 7th Street SW

Washington, DC 20410

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This endorsement change
Commercial

AAIS Property Coverages provided by this policy. GO 1072 04 02
-- PLEASE READ THIS CAREFULLY --
Designated Interests
1311 Bertie Rand St, Knoxville, TN 37920
1311 Bertie Rand St, Knoxville, TN 37920
188996
CO 1072 04 02 - Page 2 of 2

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CO 1072 04 02

LOSS PAYABLE SCHEDULE

(The entries required to complete this endorsement
will be shown below or on the “schedule of coverages”.)

Indicate applicable provision:
fx] Loss Payable
[] Lender's Loss Payable

[] Contract of Sale

SCHEDULE
Covered Name and Address
Location Property of Loss Payee
1311 Bertie Rand St Wells Fargo Affordable Housing
ISAA ATIMA

301 South College Street MAC D10530047
Charlotte, NC 282880173

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This endorsement changes the
Commercial
AAIS Property Coverages provided by this policy. CO 1072 04 02

-- PLEASE READ THIS CAREFULLY --

Designated Interests
1311 Bertie Rand St, Knoxville, TN 37920

1311 Bertie Rand St, Knoxville, TN 37920

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COMMERCIAL OUTPUT PROGRAM
INCOME COVERAGE PART

Coverage provided under this coverage part is
also subject to the "terms" and conditions in the
Commercial Output Program - Property
Coverage Part under the sections titled
Agreement, Definitions, Property Not Covered,
Perils Covered, Perils Excluded, What Must Be
Done In Case Of Loss, Loss Payment, and Other
Conditions.

COVERAGE OPTIONS

One of the following described coverage options
applies when that option is indicated on the
"schedule of coverages”:

1. Earnings, "rents", and extra expense.

2. Earnings and extra expense.

3. “Rents” and extra expense.

4. Extra expense only.

If option 1. above is selected, the term Earnings

includes "rents". When Option 3. is indicated, the
term Earnings means only "rents".

COVERAGE

"We" provide the following coverage unless the
coverage is excluded or subject to limitations.

"We" provide the coverages described below
during the "restoration period” when "your"
"business" is necessarily wholly or partially
interrupted by direct physical loss of or damage
to property at a "covered location” or in the open
(or in vehicles) within 1,000 feet thereof as a
result of a covered peril.

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if "you" lease, rent, or do not own the building
"you" occupy, for the purposes of determining an
income Coverage loss, "your" location is the
space that "you" lease, rent, or occupy, including
but not limited to:

1. all passageways to "your" location within the
building; and

2. "your" business personal property in the
open (or in a vehicle) within 1,000 feet.

EARNINGS

"We" cover "your" actual loss of net income (net
profit or loss before income taxes) that would
have been earned or incurred and continuing
operating expenses normally incurred by "your"
"business", including but not limited to payroll
expense.

The net. sales value of goods that would have
been produced is included in net income for
manufacturing risks.

EXTRA EXPENSE

“We" cover only the extra expenses that are
necessary during the "restoration period" that
“you" would not have incurred if there had been
no direct physical loss or damage to property
caused by or resulting from a covered peril.

"We" cover any extra expense to avoid or reduce
the interruption of "business" and continue
operating at a "covered location", replacement
location, or a temporary location. This includes
expenses to relocate and costs to outfit and
operate a replacement or temporary location.

"We" will also cover any extra expense to reduce
the interruption of "business" if it is not possible
for "you" to continue operating during the
"restoration period".

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To the extent that they reduce a loss otherwise
payable under this Coverage Part, "we" will cover
any extra expenses to:

1. repair, replace, or restore any property; and
2. research, replace, or restore information on

damaged "valuable papers" or "data
records".

INCOME COVERAGE EXTENSIONS

EXCLUSIONS AND LIMITATIONS

The following exclusions apply in addition to the
exclusions and limitations in the Commercial
Output Program - Property Coverage Part.

1. Finished Stock — “We" do not cover loss
caused by or resulting from loss or damage
to stock manufactured by "you" which is
ready to pack, ship, or sell. This includes loss
caused by or resulting from the time required
to reproduce such stock. This does not apply
to stock manufactured and held for sale at
retail outlets that "you" own and that are
insured under this Coverage Part.

2. Leases, Licenses, Contracts, or Orders --
"We" do not cover any increase in loss due to
the suspension, lapse, or cancellation of
leases, licenses, contracts, or orders.

However, "we" do cover loss during the
“restoration period" if the suspension, lapse,
or cancellation results directly from the
interruption of "your" "business".

"We" do not cover any extra expense caused
by the suspension, lapse, or cancellation of
leases, licenses, contracts, or orders beyond
the "restoration period”.

3. Strikes, Protests, and Other Interference
-- "We" do not cover any increase in loss due
to interference by strikers or other persons at
a "covered location". This applies to
interference with rebuilding, repairing, or
replacing the property or with resuming
"your" “business”.

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The following Income Coverage Extensions
indicate an applicable "limit" or limitation. This
“imit" or limitation may also be shown on the
"schedule of coverages". If a different "limit" or
limitation is indicated on the "schedule of
coverages", that “limit” or limitation will apply
instead of the "limit" or limitation shown below.

The following Income Coverage Extensions are
part of and not in addition to the applicabie
Income Coverage "limit".

4. Interruption by Civil Authority -- "We"
extend "your" coverage for eamings and
extra expense to include loss sustained while
access to “covered locations” or a
"dependent location" is specifically denied by
an order of civil authority. This order must be
a result of direct physical loss of or damage
to property, other than at a “covered location"
and must be caused by a covered peril.
Unless otherwise indicated on the "schedule
of coverages”, this Income Coverage
Extension is limited to 30 consecutive days
from the date of the order.

2. Period of Loss Extension After Business
Resumes -- “We" extend "your" coverage for
earnings to cover loss from the date the
covered property that incurred the loss is
rebuilt, repaired, or replaced and "business"
is resumed or tenantability is restored until:

a. the end of 90 consecutive days (unless
otherwise indicated on the “schedule of
coverages’); or

b, the date "you" could reasonably resume
"your" "business" to the conditions that
would generate the earnings amount or
“rents” that would have existed had no
loss or damage occurred,

whichever is earlier.

Loss of earnings or “rents” must be caused
by direct physical loss of or damage to
property at a "covered location" or in the
open (or in vehicles) within 1,000 feet thereof
as a result of a covered peril.

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b. Exclusions -- "We" do not cover loss of
SUPPLEMENTAL INCOME earnings or extra expenses under this
COVERAGES Supplemental Income Coverage that

results from:

1) loss of exclusive use of any "data
records” or "proprietary programs”
that have been copied, scanned, or
altered;

2) loss of or reduction in economic or

market value of any "data records” or

“proprietary programs” that have

been copied, scanned, or altered; or

theft from "your" "data records" or

“proprietary programs" of confidential

information through the observation

of the "data records" or "proprietary
programs" by accessing covered

“computers”, "your" computer

network, or "your" Web site without

any alteration or other physical loss
or damage to the records or
programs.

Unless otherwise indicated, the following
Supplemental income Coverages apply
separately to each "covered location".

The following Supplemental Income Coverages
indicate an applicable "limit". This "limit" may also
be shown on the "schedule of coverages”. If a
different "limit" is indicated on the "schedule of 3)
coverages", that "limit" will apply instead of the

"limit" shown below.

Unless otherwise indicated, a "limit" for a
Supplemental Income Coverage provided below
is separate from, and not part of, the applicable
Income Coverage "limit". The "limit" available for
coverage described under a Supplemental
Income Coverage:

a. is the only “limit” available for the described

Confidential information includes, but
coverage; and

is not limited to customer
information, processing methods, or

b. is not the sum of the "limit" indicated for a trade secrets.

Supplemental Income Coverage and the

Income Coverage "limit". c. Waiting Period -- Unless otherwise

aa: le of
The "limit" provided under a Supplemental indicated on ame sche pay for "your"

. coverages’,
Income Coverage cannot be combined or added g

loss of earnings under this Supplemental
to the "limit" for any other Supplemental Income Income Coverage unti after he first 12.
Coverage.

hours following the direct physical loss of
or damage to "your" "computers", "your"
computer network, or "your" Web site.
This waiting period does not apply to

1. Computer Virus and Hacking --

a. Coverage -- Coverage for earnings extra expenses that "you" incur
and/or extra expense is extended to loss *P y ,
of eamings or extra expenses caused by d. Applicable Limit -- The most "we" pay in
a “computer virus" or by "computer any one occurrence under this
hacking" that results in: Supplemental Income Coverage is
25,000.
1) direct physical loss or damage to $
covered "computers", “your” The most "we" fi
. ' pay for all covered losses
computer network, or "your" Web under this Supplemental Income
site; or . Coverage during each 12-month period
2) denial of access to or services from of this policy is $75,000.

"your" "computer", "your’ computer
network, or "your" Web site.

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2. ‘Dependent Locations -- Coverage for
earnings and/or extra expense is extended to
loss of earnings or extra expenses that "you"
incur during the “restoration period" when
“your" “business' is interrupted by direct
physical loss of or damage, caused by a
covered peril, to property at a "dependent
location”.

The most "we" pay in any one occurrence
under this Supplemental Income Coverage is
$100,000.

3. Off Premises Utility Service Interruption --

a. Coverage -- Coverage for earnings
and/or extra expense is extended to loss
of eamings or extra expenses that "you"
incur during the "restoration period”
when "your" "business" is interrupted due
to the interruption of an off premises
utility services when the interruption is a
result of direct physical loss or damage
by a covered peril to property that is not
located at a "covered location" and that is
owned by a utility, a landlord, or another
supplier who provides "you" with:

1) power or gas;

2) telecommunications, including but
not limited to Internet access; or

3) water, including but not limited to
waste water treatment.

b. Overhead Transmission Lines -- If the
"schedule of coverages" indicates that
overhead transmission lines are
excluded, coverage under this
Supplemental Income Coverage does
not include loss to overhead
transmission lines that deliver utility
service to "you". Overhead transmission
lines include, but are not limited to:

1) overhead transmission and
distribution lines;

2) overhead transformers and similar
equipment; and

3) supporting poles and towers.

c. Waiting Period -- Unless otherwise
indicated on the "schedule of
coverages’, "we" do not pay for "your"
loss of earnings under this Supplemental
Income Coverage until after the first 12
hours following the direct physical loss of
or damage to the property owned by a
utility, a landlord, or another supplier.
This waiting period does not apply to
extra expenses that "you" incur.

d. Applicable Limit -- The most “we" pay in
any one occurrence under this
Supplemental Income Coverage is
$10,000.

Pollutant Cleanup and Removal -- When
there is a loss to a "covered location" caused
by a covered peril, coverage for earnings is
extended to loss of earnings during the
“restoration period” due to the increased time
of interruption of "your" "business" caused by
the enforcement of any ordinance, law, or
decree that requires "you" to extract
“pollutants” from land or water at the
“covered location".

This Supplemental Income Coverage only
applies if the discharge, dispersal, seepage,
migration, release, or escape of the
"pollutants" into the land or water at the
"covered locations" is caused by a covered
peril and occurs during the policy period.

Coverage for earnings is not extended to
loss of earnings during the "restoration
period” due to the increased time of
interruption of "your" "business" caused by
the enforcement of any ordinance, law, or
decree that requires "you" to test, evaluate,
observe, or record the existence, level, or
effects of "pollutants". However, "we" cover —
the increased period of interruption when
testing is necessary for the extraction of
“pollutants” from land or water.

The ordinance, law, or decree must be in
force at the time of loss.

The most "we" pay in any one occurrence or
at any one location under this Supplemental
Income Coverage is $25,000.

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5. Contract Penalty - Coverage for earnings is
extended to cover contract penalties that
"you" are assessed or are required to pay
because “you" are unable to complete a
project or fill an order in accordance with
contract terms or conditions.

“Your” inability to complete a project or fill an
order on time must be a direct result of
physical loss of or damage to covered
property caused by a covered peril at a
"covered location".

The most "we" pay in any one occurrence
under this Supplemental Income Coverage is
$25,000.

The most "we" pay for all covered losses
under this Supplemental Income Coverage
during each 12-month period of this policy is
$100,000.

6. Property In Transit, On Exhibition, or In
The Custody Of Sales Representatives --
Coverage for earnings is extended to loss of
earnings during the "restoration period" when
"your" “business” is interrupted as a result of
a direct physical loss, caused by a covered
peril, to property in transit, on exhibition, or in
the custody of sales representatives as
described under the Supplemental Marine
Coverages in Commercial Output Program -
Property Coverage Part.

The most "we" pay in any one occurrence
under this Supplemental Income Coverage is
$10,000.

VALUATION

WHAT MUST BE DONE
IN CASE OF LOSS

Other "terms" relating to What Must Be Done In
Case Of Loss also apply. These "terms" are
described in the Commercial Output Program -
Property Coverage Part.

Intent to Continue Business -- If "you" intend to
continue "your" "business", “you" must resume all
or part of "your" “business” as scon as possible.

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1. Earnings -- In determining an earnings loss
"we" consider:

a. the experience of “your” “business”,
before the loss and the probable
experience during the time of interruption
had no loss occurred;

b. "your" continuing operating expenses
normally incurred by “your” “business",
including but not limited to payroll
expense necessary to resume "business”
to a similar level of service that existed
before the occurrence of direct physical
loss or damage; and

c. pertinent sources of information and
reports including:

1) "your" accounting procedures and
financial records:

2) bills, invoices, and other vouchers;

3) contracts, deeds, and liens;

4) reports on feasibility and status; and

5) records documenting “your” budget
and marketing objectives and results.

"We" do not pay for any increase in loss due
to "your" failure to use reasonable efforts to
resume all or part of “your” "business". This
includes making use of other locations and
property to reduce the loss.

lf "your” "business" is not resumed as soon
as possible, or if it is not resumed at all, the
value of loss payment is based on the period
of time it would have otherwise taken to
resume "your" “business” as soon as
possible.

Only as regards coverage described under
Dependent Locations in the Income
Coverage Extensions, "we" will reduce the
amount of "your" loss of earnings to the
extent "you" can resume "your" "business" by
using other available sources of materials or
outlets for "your" products.

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2. Extra Expense -- In determining extra
expenses that "you" have incurred, “we"
consider the salvage value of any property
bought for temporary use during the
“restoration period" and it will be deducted
from the amount of loss determined for extra
expense.

LOSS PAYMENT

See the Commercial Output Program - Property
Coverage Part.

HOW MUCH WE PAY

OTHER CONDITIONS

Other "terms" relating to How Much We Pay also
apply. These "terms" are described in the
Commercial Output Program - Property
Coverage Part.

"We" pay no more than the Income Coverage
“limit” indicated on the "schedule of coverages"
for any one loss. Payment for earnings, extra
expense, and "rents" combined does not exceed
the "limit".

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The following condition applies as it relates to
this Coverage Part, other “terms” also apply.
These “terms’ are described in the Commercial
Output Program - Property Coverage Part.

Appraisal -- if "you" and "we" do not agree on
the amount of net income (net profit or loss
before income taxes), payroll expense, and
operating expenses, or the amount of loss, either
party may demand that these amounts be
determined by appraisal in accordance with the
provisions described in the Commercial Output
Program - Property Coverage Part under Other
Conditions, Appraisal.

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WAITING PERIOD -- INCOME COVERAGE

As specified below, this endorsement amends
the provisions of the Commercial Output
Program -- Income Coverage Part.

DEFINITIONS

The Definition of "restoration period" is deleted
and replaced by the following:

"Restoration period” means:

1. The time it should reasonably take to resume
“your "business" to a similar level of service
beginning:

a. for earnings, after the first 72 hours
(unless otherwise indicated on the
"schedule of coverages") following the
direct physical loss of or damage to
property at a "covered location” that is
caused by a covered peril; and

b. for extra expenses, immediately following
the direct physical loss of or damage to
property at a "covered location" that is
caused by a covered peril.

The "restoration period" ends on the date the
property should be rebuilt, repaired, or
replaced or the date business is resumed at
a new permanent location. This is not limited
by the expiration date of the policy.

2. The "restoration period" also means the
increased time required to comply with the
enforcement of any ordinance, law, or decree
that:

a. regulates the construction, use, or repair
of any property; or

b. requires the demolition of any property,
in part or in whole, not damaged by a
covered peril.

The ordinance, law, or decree must be in
force at the time of loss.

Only as regards coverage described under
Dependent Locations in the Coverage
Extensions, "restoration period” also means
the time it should reasonably take to resume
“your” "business" to a similar level of service
beginning:

a. for earnings, after the first 72 hours
(unless otherwise indicated on the
"schedule of coverages") following the
direct physical loss of or damage to
property at a "covered location" that is
caused by a covered peril; and

b. for extra expenses, immediately following
the direct physical loss of or damage to
property at a "covered location" that is
caused by a covered peril.

The “restoration period” for "dependent
locations" ends on:

a. the date the property at the "dependent
location" should be rebuilt, repaired, or
replaced; or

b. the date business is resumed at a new
permanent location.

This is not limited by the expiration date of
the policy.

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COVERAGE EXTENSION

The following coverage extension is deleted and
replaced by the following: ,

Interruption by Civil Authority -- "We" extend
"your" coverage for earnings and extra expense
to include loss sustained while access to
"covered locations” or a dependent location is
specifically denied by an order of civil authority.
This order must be a result of direct physical loss
of or damage to property, other than at a
"covered location" and must be caused by a
covered peril.

Unless otherwise indicated on the "schedule of
coverages", this coverage extension begins:

1. for earnings, 72 hours after the time the order
is issued and ends 30 consecutive days and
72 hours from the date of the order; and

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2. for extra expense, immediately after the time
the order is issued, and ends 30 consecutive
days and 72 hours from the date of the order.

SUPPLEMENTAL COVERAGES

The waiting period described under Off Premises
Utility Service Interruption is not deleted and
replaced by the provisions of this endorsement.

If the Interruption of Web Site endorsement is
attached to the Commercial Output Program --
Income Coverage Part, the described waiting
period under Interruption of Web Site is not
deleted and replaced by the provisions of this
endorsement.

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HACP 2045 09 13

Insured Name:
Policy Number:
Endorsement Effective Date: 09/20/2016

One South Place LP

HEICP-205802-163575-2016

y HAI Group

This endorsement changes the policy
-- PLEASE READ THIS CAREFULLY —

FLOOD ENDORSEMENT

ADDITIONAL DEFINITIONS

1. "Aggregate limit” means the amount of coverage
that applies to all losses at each “covered
location” during each separate 12 month period
of this policy; this is limited to the expiration or
anniversary date.

2, “Occurrence limit" means the amount of
coverage that applies to a loss in any one
occurrence at each “covered location.”

3. "Catastrophe limit" means the amount of
coverage that applies to all losses at all “covered
locations” during each separate 12 month period
of this policy; this is limited to the expiration or
anniversary date.

PERILS EXCLUDED

Under Perils Excluded, the exclusion for Flood is
deleted.

HOW MUCH WE PAY

PERILS COVERED

Blanket Flood Coverage — When blanket flood
coverage is indicated on the schedule of coverages,
“we" cover direct physical loss to any “covered
location” on the location schedule caused by “flood”
unless specifically excluded or wholly or partially
located in a Special Flood Hazard Area as defined by
FEMA on the effective date of this policy.

HACP 2045 09 13

The following are added to How Much We Pay:

1. Deductible — "We" pay only that part of “your”
loss over the flood deductible indicated on the
schedule of coverages in any one occurrence.

This deductible replaces any other deductible for
the peril of "flood". The flood deductible will be
calculated as the greater of 10% of the flood limit
offered for that policy or the policy deductible
indicated on the schedule of coverages form.

2. Limits That Apply To Blanket Flood
Coverage — When blanket flood coverage is
indicated on the schedule of coverages, the
following “limits” apply to loss to covered
property caused by “flood", subject to the
provisions under Loss Settlement Terms:

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HACP 2045 09 13

Insured Name:
Policy Number:
Endorsement Effective Date:

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a. The most “we" pay for loss caused by "flood"
in any one occurrence at a "covered
location" is the “occurrence limit" indicated
on the schedule of coverages.

b. The most "we" pay for loss caused by "flood"
at a "covered location" during a 12 month
period is the "aggregate limit" indicated on
the schedule of coverages.

c. The most "we" pay for all losses caused by
"flood" at all "covered locations" during a 12
month period is the "catastrophe limit"
indicated on the schedule of coverages.

3. Excess Insurance And Other Insurance —

“You” may purchase insurance in excess of the
applicable “limit” for flood coverage. “You” may
also use insurance under this endorsement as
excess insurance over another policy. When
you use insurance under this endorsement as
excess over another policy, the limits under this
endorsement will apply after the deductible and
limits for any other policy and deductible under
the endorsement have been exhausted. Such
excess or other insurance will not be considered
in applying Insurarice Under More Than One
Policy nor will it be considered in the application
of any pro rata or apportionment provision.

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HACP 2044 11 13

‘Insured Name: One South Place LP
Policy Number: HEICP-205802-163575-2016
Endorsement Effective Date: 09/20/2016

This endorsement changes the policy
PLEASE READ THIS CAREFULLY

DEFINITION OF FLOOD

The following amends the provisions of the
Commercial Output Program — Property Coverage
Part.

DEFINITIONS PERILS EXCLUDED

Item 13. “Flood” is deleted in its entirety and
replaced with the following language: Item 1.f. “Flood” is deleted in its entirety and

replaced with the following language:
13. “Flood” means:

a. General and temporary condition where Flood - "We" do not cover loss caused by directly or
Or completely inundated property is partially indirectly by “flood”. Such loss or damage is
1) Flood, surface waters, waves, inland or tidal excluded regardless of other causes or events that
waters, rising, overflowing, or breaking of contribute to or aggravate the loss, whether such
causes or events act to produce the loss before, at

boundaries of rivers, lakes, streams, ponds : h
or similar natural or man-made bodies of ent time as, or after the excluded causes or
events.

water; or

2) Waves, tidal waves, tsunamis, storm surge;
or

3) Unusual or rapid accumulation or runoff of
surface waters from any source; or

4) Mudslides or mudflows which are caused by
“flood”; or

5) Spray, whether wind driven or not from any
of the water referred to in Items 1, 2, 3 or 4;
or

6) Waterbourne material carried or otherwise
moved by any of water or mud referred to in
Items 1, 2, 3, 4 or 5.

All other terms and conditions under this policy remain the same

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This endorsement changes
the policy
-- PLEASE READ THIS CAREFULLY --

EARTHQUAKE ENDORSEMENT |

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Provisions under this endorsement do not apply
to “mobile equipment" and the Supplemental
Marine Coverages. Unless described on the
Earthquake Schedule, this endorsement does not
apply to "computers".

PERILS EXCLUDED

ADDITIONAL DEFINITIONS

1. "Aggregate limit" means the amount of
coverage that applies to loss at each location
during each separate 12-month period of this
policy; this is limited to the expiration or
anniversary date.

2. "Occurrence limit" means the amount of
coverage that applies to loss in any one
occurrence at each location.

3, "Catastrophe limit" means the amount of
coverage that applies to all losses at all
locations during each separate 12-month
pericd of this policy; this is limited to the
expiration or anniversary date.

Under Perils Excluded, Earth Movement is
replaced by the following:

Earth Movement or Volcanic Eruption -- "We"
do not pay for loss caused by:

1.

earthquake or volcanic eruption that begins
before the inception date of this coverage;

2. blasting (other than volcanic explosion); and

3. landslide, mine subsidence, mudflow, or
mudslide even if caused by earthquake or
volcanic eruption.

HOW MUCH WE PAY

PERILS COVERED

Volcanic eruption means the eruption, explosion,
or effusion of a volcano.

Scheduled Earthquake Coverage -- When
scheduled earthquake coverage is indicated on
the "schedule of coverages", "we" cover direct
physical loss caused by earthquake and volcanic
eruption to property and locations described on
the Earthquake Schedule.

Blanket Earthquake Coverage -- When blanket
earthquake coverage is indicated on the
"schedule of coverages", "we" cover direct
physical loss to covered property at "covered
locations” caused by earthquake and volcanic
eruption.

The following are added to How Much We Pay:

1.

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Deductible -- "We" pay only that part of
"your" loss over the earthquake deductible
indicated on the "schedule of coverages" in
any one occurrence. The deductible may be
shown as either an amount or a percentage.
When shown as a percentage, the deductible
is that percentage of the value of the covered
property at the time of the loss.

This deductible replaces any other deductible
for the perils of earthquake and volcanic
eruption.

Limits That Apply To Scheduled
Earthquake Coverage -- When scheduled
earthquake coverage is indicated on the
“schedule of coverages", the following "limits"
apply to loss to covered property caused by
earthquake and volcanic eruption, subject to
the provisions under Loss Settlement Terms:

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a. The most "we" pay for loss caused by
earthquake and volcanic eruption in any
one occurrence at a location described
on the Earthquake Schedule is the
“occurrence limit" indicated on the
schedule.

b. The most "we" pay for loss caused by
earthquake and volcanic eruption at a
location described on the Earthquake
Schedule during a 12-month period is the
"aggregate limit" indicated on the
schedule.

c. The most "we" pay for all losses caused
by earthquake and volcanic eruption at
all locations described on the Earthquake
Schedule during a 12-month period is the
“catastrophe limit" indicated on the
“schedule of coverages’.

3. Limits That Apply To Blanket Earthquake

Coverage -- When blanket earthquake
coverage is indicated on the "schedule of
coverages", the following "limits" apply to
loss to covered property caused by
earthquake and voicanic eruption, subject to
the provisions under Loss Settlement Terms:

a. The most "we" pay for loss caused by
earthquake and voicanic eruption in any
one occurrence at a "covered location" is
the “occurrence limit" indicated on the
“schedule of coverages".

b. The most "we" pay for loss caused by
earthquake and volcanic eruption at a
"covered location" during a 12-month
period is the “aggregate limit" indicated
on the "schedule of coverages".

c. The most "we" pay for all losses caused
by earthquake and volcanic eruption at
all “covered locations” during a 12-month
period is the "catastrophe limit" indicated
on the "schedule of coverages".

Excess Insurance -- "You” may purchase
insurance in excess of the applicable “limit”
for earthquake coverage. Such excess
insurance will not be considered in applying
Insurance Under More Than One Policy nor
will it be considered in the application of any
pro rata or apportionment provision.

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Insured Name:
Policy Number:
Endorsement Effective Date:

This endorsement changes the policy
- PLEASE READ THIS CAREFULLY —

EARTHQUAKE ENDORSEMENT

This endorsement amends the provisions of the Commercial Output Program — Property Coverage Part.
The following applies with respect to loss or damage to a building or structure identified in the Location

Schedule as being subject to this endorsement.

ADDITIONAL DEFINITIONS

1. "Aggregate limit" means the amount of
coverage that applies to loss at each location
during each separate 12-month period of this
policy; this is limited to the expiration or
anniversary date.

2. “Occurrence limit" means the amount of
coverage that applies to loss in any one
occurrence at each location.

3. “Catastrophe limit" means the amount of
coverage that applies to all losses at all
locations during each separate 12-month
period of this policy; this is limited to the
expiration or anniversary date.

considered a single occurrence. This 168-hour
period is not limited by the policy expiration.

Scheduled Earthquake Coverage — When
scheduled earthquake coverage is indicated on
the schedule of coverages, "we" cover direct
physical loss caused by earthquake and/or
volcanic eruption to covered property at locations
described on the Location Schedule as being
subject to this endorsement.

Blanket Earthquake Coverage — When blanket
earthquake coverage is indicated on the
schedule of coverages, "we" cover direct physical
loss caused by earthquake and/or volcanic
eruption to covered property at all "covered
locations".

PERILS EXCLUDED

PERILS COVERED

When a location is shown on the Location
Schedule as being subject to this endorsement,
covered perils for that location include (unless
otherwise excluded):

4. Earthquake; and

2. Volcanic eruption — for the purpose of this
endorsement, volcanic eruption means the
eruption, explosion, or effusion of a volcano.

All earthquakes or volcanic eruptions that occur
within a continuous 168-hour period shall be

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Under Perils Excluded, paragraph 1.b. Earth
Movement is replaced by the following:

b. Earth Movement or Volcanic Eruption
— "We" do not pay for loss caused by:

1. earthquake or volcanic eruption that
begins before the inception date of this
coverage;

2. blasting (other than volcanic eruption);

landslide, mine subsidence, mudflow, or
mudslide even if caused by earthquake
or volcanic eruption; and
4. sinking, rising or shifting of earth,
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whether natural or man-made, unless
caused by earthquake or volcanic
eruption that begins before the inception
date of this coverage.

ADDITIONAL PROPERTY NOT
COVERED OR SUBJECT TO
LIMITATIONS

Masonry Veneer — "We" do not pay for loss to
exterior masonry veneer (other than stucco) on
wood frame walls caused by earthquake or
volcanic eruption. The value of masonry veneer
will not be included in the value of covered
property or the amount of loss when applying:

1. the deductible that applies to this
endorsement; or

2. the coinsurance, if applicable, to the
Commercial Output Program coverages.

However, "we" will cover masonry veneer when
described as included on the Location Schedule
or when it is less than 10% of the exterior wall
area.

HOW MUCH WE PAY

The following are added to How Much We Pay:

1. Deductible — "We" pay only that part of
"your" loss over the earthquake/volcanic
eruption deductible indicated on the schedule
of coverages in any one occurrence. The
deductible may be shown as either an
amount or a percentage. When shown as a
percentage, the deductible is that percentage
of the value of the covered property at the
time of the loss.

This deductible applies separately to:
a. each building or structure;

b. business personal property in each
building or structure; and

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c. business personal property in the open
(or in vehicles) on or within 1,000 feet of a
“covered location”.

This deductible replaces any other deductible
for the perils of earthquake and/or volcanic
eruption.

2. Limits That Apply To Covered Property —
Subject to the Loss Settlement Terms
provision, the following "limits" apply to loss
to covered property caused by earthquake
and/or volcanic eruption:

a. The most "we" pay for loss caused by
earthquake and/or volcanic eruption in
any
one occurrence at a location described
on the Location Schedule as being
subject to this endorsement is the
“occurrence limit’ shown on the
schedule.

b. The most "we" pay for loss caused by
earthquake and/or volcanic eruption at
a location described on the Location
Schedule as being subject to this
endorsement during a 12 month
period is the “aggregate limit" shown
on the schedule.

c. The most "we" pay for all losses caused
by earthquake and/or volcanic eruption
at all locations described on the
Location Schedule as being subject to
this endorsement during a 12 month
period is the "catastrophe limit" shown
on the schedule.

4

OTHER CONDITIONS

Excess Insurance — "You" may purchase
insurance in excess of the amount(s) stated in
the schedule of coverages. Such excess
insurance will not be considered in applying
Insurance Under More Than One Coverage
nor will it be considered in the application of any
pro rata or apportionment provision.

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SPOILAGE COVERAGE PART
BLANKET COVERAGE

Coverage provided under this coverage part is
also subject to the "terms" and conditions in the
Commercial Output Program - Property
Coverage Part under the sections titled
Agreement, Definitions, Property Not Covered,
What Must Be Done In Case Of Loss, How Much
We Pay, Loss Payment, and Other Conditions.

Reference to Spoilage Schedule or schedule in
this coverage part means the Spoilage Schedule
or the "schedule of coverages”.

COVERAGE

"We" cover direct physical loss of "perishable

. stock" due to "spoilage" caused by a covered

peril described below and while at a "covered
location".

PERILS COVERED

"We" cover risks of direct physical loss caused by
the following perils unless the loss is caused by a
peril that is excluded.

1. Breakdown, Malfunction, or Failure
(Equipment Breakdown) -- "We" cover
changes in temperature or humidity resulting
from an “accident” to "covered equipment” at
a "covered location" including but not limited
to the refrigeration system or the equipment
or apparatus controlling the refrigeration
system.

2. Refrigerant Contamination (Equipment
Breakdown) -- "We" cover loss of
“perishable stock" due to refrigerant
contamination from the release of refrigerant,
including but not limited to ammonia, and
caused by or resulting from an “accident” to
“covered equipment" at a "covered location".

3. Refrigerant Contamination (Other Causes
of Loss) -- Except as noted above in 2., "we"
cover loss of "perishable stock" due to
refrigerant contamination from the release of
refrigerant, including but not limited to
ammonia.

4. Power Disruption (Equipment Breakdown)
-- "We" cover changes in temperature or
humidity resulting from:

a. complete or partial lack of electrical
power; or

b. fluctuation of electrical current

caused by or resulting from an "accident" to
"covered equipment” owned by a utility who
provides "you" with electrical power.

5. Power Disruption (Other Causes of Loss)
-- Except as noted above in 4., "we" cover
changes in temperature or humidity resulting
from:

a. complete or partial lack of electrical
power; or

b. fluctuation of electrical current

due to conditions beyond "your" control.

COVERAGE EXTENSION

When the Commercial Output Program - Income
Coverage Part is made a part of this policy, "we"
also cover loss of earnings and/or the necessary
extra expenses that "you" incur caused by a peril
described above under Perils Covered.

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PERILS EXCLUDED

Only as regards Spoilage Coverage, Perils
Excluded is deleted and replaced by the
following:

1.

"We" do not pay for loss or damage caused
directly or indirectly by one or more of the
following excluded causes or events. Such
loss or damage is excluded regardless of
other causes or events that contribute to or
aggravate the loss, whether such causes or
events act to produce the loss before, at the
same time as, or after the excluded causes
or events.

a. Earth Movement -- "We" do not pay for
loss caused by any earth movement
(other than "sinkhole collapse") or
caused by eruption, explosion, or
effusion of a volcano. Earth movement
includes, but is not limited to:
earthquake; landslide; mudflow;
mudslide; mine subsidence; or sinking,
rising, or shifting of earth.

“We do cover direct loss by fire,
explosion, or "volcanic action" resulting
from either earth movement or eruption,
explosion, or effusion of a volcano.

b. Civil Authority -- "We" do not pay for
loss caused by order of any civil

authority, including seizure, confiscation,

destruction, or quarantine of property.

"We" do cover loss resulting from acts of

destruction by the civil authority to

prevent the spread of fire, unless the fire

is caused by a peril excluded under this
coverage.

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Nuclear Hazard -- "We" do not pay for
loss caused by or resulting from a
nuclear reaction, nuclear radiation, or
radioactive contamination (whether
controlled or uncontrolled; whether
caused by natural, accidental, or artificial
means). Loss caused by nuclear hazard
is not considered loss caused by fire,
explosion, or smoke. Direct loss by fire
resulting from the nuclear hazard is
covered,

War and Military Action -- "We" do not
pay for loss caused by:

1) war, including undeclared war or civil
war; or

2) awarlike action by a military force,
including action taken to prevent or
defend against an actual or expected
attack, by any government,
sovereign, or other authority using
military personnel or other agents; or

3) insurrection, rebellion, revolution, or
unlawful seizure of power including
action taken by governmentai
authority to prevent or defend
against any of these.

With regard to any action that comes
within the "terms" of this exclusion
and involves nuclear reaction,
nuclear radiation, or radioactive
contamination, this War and Military
Action Exclusion will apply in place of
the Nuclear Hazard Exclusion.

Water -- "We" do not pay for loss caused
by water. This means:

1) flood, surface water, waves, tidal
water, or the overflow of a body of
water, all whether driven by wind or
not. This includes spray that results
from these whether driven by wind or
not;

2) water that backs up through a sewer
or drain; and

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3) water below the surface of the
ground. This includes water that
exerts pressure on or flows, seeps,
or leaks through or into a building or
structure, sidewalk, driveway,
foundation, swimming pool, or other
structure.

If fire, explosion, or sprinkler leakage
results, "we" do cover the resulting loss.

2. "We" do not pay for loss or damage that is
caused by or results from one or more of the
following excluded causes or events:

a. Disconnection or Deactivation -- "We"
do not pay for loss caused by the
disconnection of the refrigeration system
from the source of power, or the
deactivation of electrical power caused
by turning off a switch or other device
used to control the electrical current or
power.

b. Glass Breakage -- "We" do not pay for
loss caused by the breakage of any
glass that is a permanent part of the
refrigeration system.

c. Inability to Provide Sufficient Power --
"We" do not pay for loss caused by:

1) the inability of an electrical utility
company or other power source to
provide sufficient power due to
governmental order or lack of fuel; or

2) the lack of generating capacity at the
“covered location" to meet demand.

d. Neglect -- "We" do not pay for loss
caused by "your" neglect to use all
reasonable means to save covered
property at and after the time of loss. .

“We" do not pay for loss caused by
“your’ neglect to use all reasonable
means to save and preserve covered
property when endangered by a covered
peril.

e. Wear and Tear -- "We" do not pay for
loss caused by wear and tear, marring,
or scratching.

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"We" do cover any resulting loss caused
by:

1) a” specified peril";

2) breakage of building glass; or

3) an “accident” to "covered
equipment".

SPOILAGE VALUATION

When selling price is indicated in the Spoilage
Schedule, the value of "perishable stock” will be
based on the selling price less all discounts and
unincurred expenses.

If selling price is not indicated, the valuation of
"perishable stock” will be based on the applicable
valuation as indicated in the Commercial Output
Program - Property Coverage Part.

HOW MUCH WE PAY

The following provisions are added to How Much
We Pay:

1. Spoilage Deductible -- "We" pay only that
part of “your” "spoilage" loss over the
deductible amount indicated for Spoilage
Deductible in any one occurrence.

2. Loss Settlement Terms -- Subject to the
applicable provisions under How Much We
Pay and coinsurance provisions (if
applicable), "we" pay the lesser of:

a. the amount determined under Spoilage
Valuation;

b. the cost to replace the “perishable stock”
with material of like kind and quality to
the extent practicable; or

c. the applicable "limit" indicated on the
Spoilage Schedule.

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b. "you" know of any suspension,
ADDITIONAL CONDITIONS termination, cancellation, or impairment

The following are added to Other Conditions:

4. Refrigeration Maintenance or Service
Agreement -- "We" do not cover losses
occurring at “covered locations" if "you" do
not notify "us" as soon as reasonably
possible when:

a. "you" voluntarily discontinue or terminate;
or

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of

an applicable refrigeration maintenance or
service agreement.

This condition applies only when a
refrigeration maintenance or service
agreement is indicated in the Spoilage
Schedule. This additional condition does not
apply when factors away from "covered
locations" result in the complete or partial
lack of electrical power or fluctuation of
electrical current at a “covered location".

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AAIS This endorsement changes
CL 0118 01 01 the policy
Page 1 of 2 -- PLEASE READ THIS CAREFULLY --

AMENDATORY ENDORSEMENT
TENNESSEE

1. Under Common Policy Conditions,
Cancellation is deleted and replaced by the
following:

Cancellation or Nonrenewal — "You" may
cancel this policy by returning the policy to
"us" or by giving "us" a written notice and
stating at what future date coverage is to
stop.

"We" may cancel or not renew this policy, or
one or more of its parts, by written notice
mailed or delivered to "you" and "your" agent
at the addresses shown in the policy. The
notice will state the reason for cancellation or
nonrenewal and the time that the cancellation
is to take effect. Proof of mailing will be
sufficient proof of notice.

If this policy has been in effect less than 60
days, "we" may cancel for any reason.

If this policy has been in effect 60 days or
more, or if it is a renewal of a policy issued by
"us", "we" may cancel this policy only on its
annual anniversary date unless one or more
of the following reasons apply:

a. nonpayment of premium, including
nonpayment of any additional premiums,
calculated in accordance with "our"
current rating manual, justified by a
physical change in the insured property
or a change in its occupancy or use;

b. “your” conviction of a crime having as
one of its necessary elements an act
increasing any hazard insured against;

c. discovery of fraud or material
misrepresentation on the part of either of
the following:

1) "you" or "your" representative in
obtaining the insurance; or

2) “you" in pursuing a claim under the
- policy;

d. failure to comply with written loss control
recommendations;

e. material change in the risk which
increases the risk of loss after insurance
coverage has been issued or renewed;

f. determination by the Commissioner that
the continuation of the policy would
jeopardize “our" solvency or would place
“us" in violation of the insurance laws of
this state or any other state;

g. “your” violation or breach of any policy
"terms" or conditions; or

h. such other reasons that are approved by
the Commissioner.

if "we" cancel this policy, "we" will give "you"
and "your" agent notice at least ten days
before cancellation is effective.

"Your" retum premium, if any, will be
calculated according to “our” rules. It will be
refunded to "you" with the cancellation notice
or within a reasonable time. Payment or
tender of the unearned premium is not a
condition of cancellation.

If "we" decide not to renew this policy, "we"
will give "you" and "your" agent notice at least
60 days before the expiration date of the

policy.

Notice of nonrenewal is not required if “we"
have offered to issue a renewal policy, or
"you" have obtained replacement coverage or
have agreed in writing to obtain replacement
coverage.

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2. Under Common Policy Conditions, the b. reduction of "limits" or elimination of .
following condition is added: / coverages;
Renewal -- If "we" decide to renew this policy “we" will give notice stating the new "terms" at
subject to: least 60 days prior to the expiration date.
“Our" notice will be mailed or delivered to
a. anincrease in premium rates or factors "you" at the address on the policy, and to
in excess of 25%: or “your” agent.

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the policy
Page 1 of 1 PLEASE READ THIS CAREFULLY
Named Insured One South Place LP
Policy Number HEICP-205802-163575-2016
Effective Date 09/20/2016
MORTGAGEE SCHEDULE

This schedule provides information required by Form CO 1000 10 02, Commercial
Output Program - Property Coverage Part, Other Condition 14 - Mortgagee Provisions.

Name of Mortqagee and Mailing Address Building Property - Location Address
Wells Fargo Bank, N.A. as Master Servicer D1118-02W, 1525 One South Place,1311 Bertie Rand St, Knoxville, TN 37920

West WT Harris Blvd., Charlotte, NC 28262

One South Place,1311 Bertie Rand St, Knoxville, TN 37920

One South Place,1311 Bertie Rand St, Knoxville, TN 37920

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the policy
Page 1 of 1 PLEASE READ THIS CAREFULLY
Named Insured One South Place LP
Policy Number HEICP-205802-163575-2016
Effective Date 09/20/2016
MORTGAGEE SCHEDULE

This schedule provides information required by Form CO 1000 10 02, Commercial
Output Program - Property Coverage Part, Other Condition 14 - Mortgagee Provisions.

Name of Mortgagee and Mailing Address Building Property - Location Address
Wells Fargo Affordable Housing, ISAAATIMA, 3017 South One South Place,1311 Bertie Rand St, Knoxville, TN 37920

College Street MAC D10530047 Charlotte, NC 282880173

One South Place, 1311 Bertie Rand St, Knoxville, TN 37920

One South Place,1311 Bertie Rand St, Knoxville, TN 37920

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NOTICE TO POLICYHOLDERS

Terrorism Insurance Excluded

This Notice has been prepared in conjunction with the implementation of changes related to terrorism
coverage under your policy.

This Notice does not form a part of your insurance contract. The Notice is designed to alert you to
coverage restrictions and to other provisions in the terrorism endorsement in this policy. If there is any
conflict between this Notice and the policy (including its endorsements), the provisions of the policy
(including its endorsements) apply.

Carefully read your policy, including the endorsements attached to your policy.
The Terrorism Risk Insurance Program (TRIP) has been extended through December 31, 2020.
Before your policy was issued, as required by TRIP, we gave you written opportunity to accept or reject
coverage for certified acts of terrorism, as defined by that law. You subsequently rejected terrorism
coverage by signing the form we provided.
We want you to be aware that:

1. Your rejection of terrorism coverage means that you have no coverage for certified acts

of terrorism, whether done by citizens of this or citizens of foreign countries, as stated

in the terrorism exclusion endorsement that is part of your policy.

2. Acts of terrorism are certified by the Secretary of the Treasury, in consultation with the
Secretary of Homeland Security, and the Attorney General of the United States.

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IMPORTANT NOTICE TO POLICYHOLDERS PRODUCERS
COMPENSATION DISCLOSURE

THIS NOTICE DOES NOT AMEND ANY PROVISION OF OR AFFORD ANY
COVERAGE UNDER YOUR POLICY. YOU SHOULD REVIEW YOUR ENTIRE POLICY
CAREFULLY FOR COMPLETE INFORMATION ON THE COVERAGES PROVIDED
AND TO DETERMINE YOUR RIGHTS AND DUTIES UNDER YOUR POLICY. IF THERE
IS ANY CONFLICT BETWEEN YOUR POLICY PROVISIONS AND THIS NOTICE, THE
PROVISIONS OF YOUR POLICY PREVAIL. PLEASE CONTACT YOUR AGENT OR
BROKER IF YOU HAVE ANY QUESTIONS ABOUT THIS NOTICE OR ITS CONTENTS.

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Housing Insurance Services (HIS) represents our insurance companies and in such capacity will
provide services to you relating to your insurance coverage.

HIS will receive compensation from the insurance company if you choose to purchase the
proposed coverage.

In many cases, HIS will obtain proposals from other insurers offering coverage in
connection with the insurance programs. You may obtain more information about. the
compensation expected to be received by HIS, and the compensation expected to be
received based in whole or in part on any alternative quotes by requesting such
information from HIS —Agency Operations Department, at 203-272-8220 or 1-800-873-0242,

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